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                       EXHIBIT 1
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        12 Lead Counsel for Lead Plaintiffs
        13                      UNITED STATES DISTRICT COURT
        14                     CENTRAL DISTRICT OF CALIFORNIA
        15                             SOUTHERN DIVISION
        16 In re QUALITY SYSTEMS, INC.          )   No. 8:13-cv-01818-CJC-JPR
                                                )
        17 SECURITIES LITIGATION                )   CLASS ACTION
                                                )
        18                                      )   [PROPOSED] ORDER
                                                )   PRELIMINARILY APPROVING
        19 This Document Relates To:            )   SETTLEMENT AND PROVIDING
                                                )   FOR NOTICE
        20        ALL ACTIONS.                  )
                                                )
        21
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1452955_1                                                               [PROPOSED] ORDER
                                                                Case No. 8:13-cv-01818-CJC-JPR
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            1        WHEREAS, an action is pending before this Court entitled In re Quality
            2 Systems, Inc. Securities Litigation, Case No. 8:13-cv-01818-CJC-JPR (the
            3 “Litigation”);
            4        WHEREAS, the parties having made application, pursuant to Federal Rule
            5 of Civil Procedure 23(e), for an order preliminarily approving the settlement of this
            6 Litigation, in accordance with a Stipulation of Settlement dated July 16, 2018 (the
            7 “Stipulation”), which, together with the Exhibits annexed thereto, sets forth the
            8 terms and conditions for a proposed settlement of the Litigation and for dismissal
            9 of the Litigation with prejudice upon the terms and conditions set forth therein; and
        10 the Court having read and considered the Stipulation and the Exhibits annexed
        11 thereto; and
        12           WHEREAS, unless otherwise defined, all terms used herein have the same
        13 meanings as set forth in the Stipulation.
        14           NOW, THEREFORE, IT IS HEREBY ORDERED:
        15           1.     After a preliminary review, the Settlement appears to be fair,
        16 reasonable, and adequate. The Settlement: (a) resulted from arm’s-length
        17 negotiations overseen by an experienced mediator; and (b) is sufficient to warrant
        18 (i) notice thereof as set forth below; and (ii) a full hearing on the Settlement.
        19 Accordingly, the Court does hereby preliminarily approve the Stipulation and the
        20 Settlement set forth therein, subject to further consideration at the Settlement
        21 Hearing described below.
        22           2.     A hearing (the “Settlement Hearing”) shall be held before this Court
        23 on __________, 2018, at _:__ _.m., [a date that is at least 100 days from the date
        24 of this Order] at the United States District Court for the Central District of
        25 California, Southern Division, Ronald Reagan Federal Building and U.S.
        26 Courthouse, 411 West Fourth Street, Courtroom 9B, Santa Ana, CA 92701, for the
        27 following purposes:
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        28                                                                       [PROPOSED] ORDER
                                                    -1-                    Case No. 8:13-cv-01818-CJC-J
     Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 4 of 65 Page ID
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            1           a. to determine whether the Settlement is fair, reasonable, and
            2              adequate, and should be approved by the Court;
                        b. to finally determine whether Judgment as provided under the
            3
                           Stipulation should be entered, dismissing the Amended Complaint
            4
                           on the merits and with prejudice, and to determine whether the
            5              release by the Class of the Released Defendant Parties as set forth
            6              in the Stipulation, should be ordered, along with a permanent
            7              injunction barring efforts to bring any Released Plaintiffs’ Claims
            8              or Released Defendants’ Claims extinguished by the Settlement;
            9           c. to finally determine whether the proposed Plan of Allocation for
                           the distribution of the Net Settlement Fund is fair and reasonable
        10
                           and should be approved by the Court;
        11
                        d. to consider the application of Lead Counsel for an award of
        12                 attorneys’ fees and expenses, and any application for an award to
        13                 Lead Plaintiffs;
        14              e. to consider Class Members’ objections to the Settlement, Plan of
        15                 Allocation or application for fees and expenses; and
        16              f. to rule upon such other matters as the Court may deem appropriate.

        17        3.    The Court may adjourn the Settlement Hearing without further notice

        18 to the Members of the Class, and reserves the right to approve the Settlement with
        19 such modifications as may be agreed upon or consented to by the parties and
        20 without further notice to the Class where to do so would not impair Class
        21 Members’ rights in a manner inconsistent with Rule 23 and due process of law.
        22 The Court further reserves the right to enter its Judgment approving the Settlement
        23 and dismissing the Amended Complaint, on the merits and with prejudice,
        24 regardless of whether it has approved the Plan of Allocation or awarded attorneys’
        25 fees and expenses or made awards to Lead Plaintiffs.
        26
        27
1452955_1
        28                                                                  [PROPOSED] ORDER
                                                -2-                   Case No. 8:13-cv-01818-CJC-J
     Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 5 of 65 Page ID
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            1        4.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court
            2 hereby certifies, for the sole purpose of effectuating the Settlement, a Class defined
            3 as follows:
                            All persons or entities who purchased or otherwise acquired
            4               QSI common stock during the period from May 26, 2011
                            through July 25, 2012, inclusive (“Class Period”), and were
            5               damaged thereby. Excluded from the Class are: (a) Defendants;
                            (b) immediate family members of the individual Defendants (as
            6               defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and
                            (1)(b)(ii)); (c) present or former executive officers or directors
            7               of QSI and their immediate family members (as defined in
                            17 C.F.R. §229.404 Instructions (1)(a)(iii) and (1)(b)(ii));
            8               (d) any firm or entity in which any Defendant has or had a
                            controlling interest during the Class Period; (e) any affiliates,
            9               parents, or subsidiaries of QSI; (f) all QSI plans that are
                            covered by ERISA; and (g) the legal representatives, agents,
        10                  affiliates, heirs, beneficiaries, successors-in-interest, or assigns
                            of any excluded Person, in their respective capacity as such.
        11                  Also excluded from the Class are those Persons who exclude
                            themselves by submitting a request for exclusion that is
        12                  accepted by the Court.
        13           5.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for
        14 purposes of settlement only, Lead Plaintiffs are appointed as representatives of the
        15 Class, and Lead Counsel Robbins Geller Rudman & Dowd LLP and Bernstein
        16 Litowitz Berger & Grossmann LLP are appointed as Class Counsel for the Class.
        17           6.     With respect to the Class, this Court finds, for purposes of
        18 effectuating the Settlement only, that the prerequisites for a class action under
        19 Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been satisfied
        20 in that: (a) the Members of the Class are so numerous that joinder of all Class
        21 Members in the Litigation is impracticable; (b) there are questions of law and fact
        22 common to the Class; (c) the claims of the Lead Plaintiffs are typical of the claims
        23 of the Class; (d) Lead Plaintiffs and their counsel have fairly and adequately
        24 represented and protected the interests of all Class Members; (e) the questions of
        25 law and fact common to the Class predominate over any questions affecting only
        26 individual Members of the Class; and (f) a class action is superior to other
        27 available methods for the fair and efficient adjudication of the controversy,
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        28                                                                         [PROPOSED] ORDER
                                                     -3-                     Case No. 8:13-cv-01818-CJC-J
     Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 6 of 65 Page ID
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            1 considering: (i) the interests of the Members of the Class in individually
            2 controlling the prosecution of the separate actions; (ii) the extent and nature of any
            3 litigation concerning the controversy already commenced by Members of the
            4 Class; (iii) the desirability or undesirability of concentrating the litigation of these
            5 claims in this particular forum; and (iv) the difficulties likely to be encountered in
            6 the management of the Litigation.
            7        7.     The Court approves, as to form and content, the Notice of
            8 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
            9 and (III) Motion for Attorneys’ Fees and Expenses (the “Notice”), the Proof of
        10 Claim and Release form (the “Proof of Claim”), and the Summary Notice of
        11 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
        12 and (III) Motion for Attorneys’ Fees and Expenses (“Summary Notice”), annexed
        13 hereto as Exhibits A-1, A- 2, and A-3, respectively, and finds that the mailing and
        14 distribution of the Notice and publishing of the Summary Notice, substantially in
        15 the manner and form set forth in ¶¶10-11 of this Order, meet the requirements of
        16 Federal Rule of Civil Procedure 23 and due process, and is the best notice
        17 practicable under the circumstances and shall constitute due and sufficient notice to
        18 all Persons entitled thereto.
        19           8.     The firm of A.B. Data, Ltd. (“Claims Administrator”) is hereby
        20 appointed to supervise and administer the notice procedure as well as the
        21 processing of claims as more fully set forth below.
        22           9.     QSI shall provide, or cause to be provided, to Lead Counsel or the
        23 Claims Administrator, at no cost to Lead Plaintiffs, the Settlement Fund, Lead
        24 Counsel or the Claims Administrator, within five (5) calendar days after the Court
        25 enters this Order, documentation or data in the possession of QSI or its present or
        26 former stock transfer agents sufficient to identify to the extent available the record
        27 holders of QSI common stock during the period from May 26, 2011 through July
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        28                                                                         [PROPOSED] ORDER
                                                     -4-                     Case No. 8:13-cv-01818-CJC-J
     Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 7 of 65 Page ID
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            1 25, 2012, inclusive, and their last known addresses or other similar information.
            2 Defendants shall provide this documentation in an electronic searchable form, such
            3 as Excel.
            4        10.   Lead Counsel, through the Claims Administrator, shall commence
            5 mailing the Notice and Proof of Claim, substantially in the forms annexed hereto,
            6 within fifteen (15) business days after the Court signs this Order (the “Notice
            7 Date”), or by __________, 2018, by first-class mail to all Class Members who can
            8 be identified with reasonable effort, and to be posted on the Settlement website at
            9 www.QSISecuritiesSettlement.com.
        10           11.   Not later than seven (7) calendar days after the Notice Date, the
        11 Claims Administrator shall cause the Summary Notice to be published once in the
        12 national edition of The Wall Street Journal and once over a national newswire
        13 service.
        14           12.   At least seven (7) calendar days prior to the Settlement Hearing, Lead
        15 Counsel shall serve on Defendants’ Counsel and file with the Court proof, by
        16 affidavit or declaration, of such mailing and publishing.
        17           13.   Nominees who purchased or acquired QSI common stock for the
        18 beneficial ownership of Class Members during the Class Period shall (a) within
        19 seven (7) calendar days of receipt of the Notice and the Proof of Claim (“Notice
        20 Packet”), request from the Claims Administrator sufficient copies of the Notice
        21 Packet to forward to all such beneficial owners and within seven (7) calendar days
        22 of receipt of those Notice Packets forward them to all such beneficial owners; or
        23 (b) within seven (7) calendar days of receipt of the Notice Packet, send a list of the
        24 names and addresses of all such beneficial owners to the Claims Administrator in
        25 which event the Claims Administrator shall promptly mail the Notice Packet to
        26 such beneficial owners.        Lead Counsel shall, if requested, reimburse banks,
        27 brokerage houses or other nominees solely for their reasonable out-of-pocket
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        28                                                                     [PROPOSED] ORDER
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            1 expenses incurred in providing notice to beneficial owners who are Class Members
            2 out of the Settlement Fund, which expenses would not have been incurred except
            3 for the sending of such notice, subject to further order of this Court with respect to
            4 any dispute concerning such compensation.
            5        14.    In order to be entitled to participate in the recovery from the
            6 Settlement Fund after the Effective Date, each Class Member shall take the
            7 following action and be subject to the following conditions:
            8               (a)   A properly completed and executed Proof of Claim must be
            9                     submitted to the Claims Administrator, at the post office box or
        10                        electronic mailbox indicated in the Notice and Proof of Claim,
        11                        postmarked no later than one hundred twenty (120) calendar
        12                        days from the Notice Date.       Such deadline may be further
        13                        extended by Order of the Court. Each Proof of Claim shall be
        14                        deemed to have been submitted when legibly postmarked (if
        15                        properly addressed and mailed by first-class mail) provided
        16                        such Proof of Claim is actually received before the filing of a
        17                        motion for an Order of the Court approving distribution of the
        18                        Settlement Fund. Any Proof of Claim submitted in any other
        19                        manner shall be deemed to have been submitted when it was
        20                        actually received by the Claims Administrator at the address
        21                        designated in the Notice.
        22                  (b)   The Proof of Claim submitted by each Class Member must
        23                        satisfy the following conditions: (i) it must be properly filled
        24                        out, signed and submitted in a timely manner in accordance
        25                        with the provisions of the preceding subparagraph; (ii) it must
        26                        be accompanied by adequate supporting documentation for the
        27                        transactions reported therein, in the form of broker confirmation
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        28                                                                         [PROPOSED] ORDER
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            1                  slips, broker account statements, an authorized statement from
            2                  the broker containing the transactional information found in a
            3                  broker confirmation slip, or such other documentation as is
            4                  deemed adequate by the Claims Administrator or Lead
            5                  Counsel; (iii) if the person executing the Proof of Claim is
            6                  acting in a representative capacity, a certification of his current
            7                  authority to act on behalf of the Class Member must be
            8                  provided with the Proof of Claim; and (iv) the Proof of Claim
            9                  must be complete and contain no material deletions or
        10                     modifications of any of the printed matter contained therein and
        11                     must be signed under penalty of perjury.
        12               (c)   Once the Claims Administrator has considered a timely
        13                     submitted Proof of Claim, it shall determine whether such claim
        14                     is valid, deficient or rejected. For each claim determined to be
        15                     either deficient or rejected, the Claims Administrator shall send
        16                     a deficiency letter or rejection letter as appropriate, describing
        17                     the basis on which the claim was so determined. Persons who
        18                     timely submit a Proof of Claim that is deficient or otherwise
        19                     rejected shall be afforded a reasonable time (at least seven (7)
        20                     calendar days) to cure such deficiency if it shall appear that
        21                     such deficiency may be cured.
        22               (d)   For the filing of and all determinations concerning their Proof
        23                     of Claim, each Class Member shall submit to the jurisdiction of
        24                     the Court.
        25        15.    Any Class Member who does not timely submit a valid and timely
        26 Proof of Claim within the time provided for, shall be barred from sharing in the
        27 distribution of the proceeds of the Settlement Fund, but will in all other respects be
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        28                                                                      [PROPOSED] ORDER
                                                  -7-                     Case No. 8:13-cv-01818-CJC-J
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            1 subject to and bound by the provisions of the Stipulation and the Judgment, if
            2 entered. Notwithstanding the foregoing, Lead Counsel shall have the discretion
            3 (but not an obligation) to accept late-submitted claims for processing by the Claims
            4 Administrator so long as distribution of the Settlement Fund to Authorized
            5 Claimants is not materially delayed thereby, but will bear no liability for failing to
            6 accept such late claims.
            7        16.    Any Member of the Class may enter an appearance in the Litigation,
            8 at their own expense, individually or through counsel of their own choice. If they
            9 do not enter an appearance, they will be represented by Lead Counsel.
        10           17.    All Class Members shall be bound by all determinations and
        11 judgments in this Litigation, whether favorable or unfavorable, unless such persons
        12 request to be excluded, or “opt out,” from the Class. A Class Member wishing to
        13 be excluded from the Class must submit to the Claims Administrator a request for
        14 exclusion (“Request for Exclusion”), by first-class mail, or otherwise hand-deliver
        15 it, such that it is received no later than twenty-one (21) calendar days prior to the
        16 Settlement Hearing, or __________ 20__, to the address listed in the Notice. A
        17 Request for Exclusion must be signed and must legibly state: (a) the name, address,
        18 and telephone number of the Person requesting exclusion; (b) the number of shares
        19 of QSI common stock that the Person requesting exclusion (i) owned as of the
        20 opening of trading on May 26, 2011, and (ii) purchased, acquired and/or sold
        21 during the Class Period, as well as the number of shares, dates and prices for each
        22 such purchase, acquisition and sale; and (c) that the Person wishes to be excluded
        23 from the Class in In re Quality Systems, Inc. Securities Litigation, Case No. 8:13-
        24 cv-01818-CJC-JPR.          All Persons who submit valid and timely Requests for
        25 Exclusion in the manner set forth in this paragraph shall have no rights under the
        26 Stipulation, shall not share in the distribution of the Net Settlement Fund, and shall
        27 not be bound by the Stipulation or any Final Judgment. Unless otherwise ordered
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        28                                                                        [PROPOSED] ORDER
                                                    -8-                     Case No. 8:13-cv-01818-CJC-J
    Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 11 of 65 Page ID
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            1 by the Court, any Class Member who does not submit a valid and timely written
            2 Request for Exclusion as provided by this paragraph shall be bound by the
            3 Stipulation.
            4         18.    The Claims Administrator or Lead Counsel shall cause to be provided
            5 to Defendants’ Counsel copies of all Requests for Exclusion within five (5)
            6 calendar days of receipt.
            7         19.    The Court will consider comments or objections to the Settlement, the
            8 Plan of Allocation, or Lead Counsel’s request for an award of attorneys’ fees and
            9 expenses, including Lead Plaintiffs’ expenses as provided for by 15 U.S.C. Section
        10 78u-4(a)(4), only if such comments or objections and any supporting papers are
        11 served by hand or sent by first-class mail, and are received at least twenty-one (21)
        12 calendar days prior to the Settlement Hearing, or _______________, 20__:
        13                                  Counsel for Lead Plaintiffs
        14           Robbins Geller Rudman                 Bernstein Litowitz Berger
                      & Dowd LLP                            & Grossmann LLP
        15           Robert R. Henssler Jr.                Benjamin Galdston
        16           655 West Broadway, Suite 1900         12481 High Bluff Drive, Suite 300
                     San Diego, CA 92101                   San Diego, CA 92130
        17                                   Counsel for Defendants
        18           Latham & Watkins LLP
                     Peter A. Wald
        19           505 Montgomery Street, Suite 2000
        20           San Francisco, CA 94111
        21
                Those comments or objections and any supporting papers must also be filed with
        22
                the Clerk of the United States District Court for the Central District of California,
        23
                Southern Division, Ronald Reagan Federal Building and United States Courthouse,
        24
                411 West Fourth Street, Santa Ana, CA 92701, at least twenty-one (21) calendar
        25
                days prior to the Settlement Hearing, or __________, 20__. Attendance at the
        26
                Settlement Hearing is not necessary but any Person wishing to be heard orally in
        27
1452955_1
        28                                                                        [PROPOSED] ORDER
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            1 opposition to the Settlement, the Plan of Allocation, or the application for
            2 attorneys’ fees and expenses or awards to Lead Plaintiffs are required to indicate in
            3 their written objection whether they intend to appear at the Settlement Hearing.
            4 The notice of objection must include documentation establishing the objecting
            5 Person’s membership in the Class, including the number of shares of QSI common
            6 stock that the objecting Person (i) owned as of the opening of trading on May 26,
            7 2011, and (ii) purchased, acquired and/or sold during the Class Period, as well as
            8 the dates and prices for each such purchase, acquisition or sale, and contain a
            9 statement of reasons for the objection, copies of any papers, briefs, or other
        10 documents upon which the objection is based, and the objector’s signature, even if
        11 represented by counsel. Any Member of the Class who does not make his, her or
        12 its objection in the manner provided shall be deemed to have waived such
        13 objection and shall forever be foreclosed from making any objection to the fairness
        14 or adequacy of the Settlement as set forth in the Stipulation, to the Plan of
        15 Allocation, or to the award of attorneys’ fees and expenses to Lead Counsel or
        16 expenses of the Lead Plaintiffs unless otherwise ordered by the Court. Class
        17 Members do not need to appear at the Settlement Hearing or take any other action
        18 to indicate their approval.
        19           20.    All funds held by the Escrow Agent shall be deemed and considered
        20 to be in custodia legis of the Court, and shall remain subject to the jurisdiction of
        21 the Court, until such time as such funds shall be distributed pursuant to the
        22 Stipulation and/or further order(s) of the Court.
        23           21.    All opening briefs and supporting documents in support of the
        24 Settlement, the Plan of Allocation, and any application by counsel for the Lead
        25 Plaintiffs for attorneys’ fees and expenses or by Lead Plaintiffs for their expenses
        26 shall be filed and served no later than thirty-five (35) calendar days before the
        27 Settlement Hearing, or __________, 20__. Replies to any objections shall be filed
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        28                                                                       [PROPOSED] ORDER
                                                   - 10 -                  Case No. 8:13-cv-01818-CJC-J
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            1 and served at least seven (7) calendar days prior to the Settlement Hearing, or
            2 __________, 20__.
            3        22.   The Released Defendant Parties shall have no responsibility for the
            4 Plan of Allocation or any application for attorneys’ fees or expenses submitted by
            5 Lead Counsel or Lead Plaintiffs, and such matters will be considered separately
            6 from the fairness, reasonableness, and adequacy of the Settlement. Any order or
            7 proceeding relating to the Plan of Allocation or any application for attorneys’ fees
            8 or expenses, or any appeal from any order relating thereto or reversal or
            9 modification thereof, shall not operate to terminate or cancel the Stipulation, or
        10 affect or delay the finality of the Judgment approving the Stipulation and the
        11 settlement of the Litigation.
        12           23.   At or after the Settlement Hearing, the Court shall determine whether
        13 the Plan of Allocation proposed by Lead Counsel, and any application for
        14 attorneys’ fees or payment of expenses shall be approved.
        15           24.   All reasonable expenses incurred in identifying and notifying Class
        16 Members, as well as administering the Settlement Fund, shall be paid as set forth
        17 in the Stipulation.
        18           25.   Neither the Stipulation, nor any of its terms or provisions, nor any of
        19 the negotiations or proceedings connected with it, shall be construed as an
        20 admission or concession by the Defendants of the truth of any of the allegations in
        21 the Litigation, or of any liability, fault, or wrongdoing of any kind.
        22           26.   If the Stipulation and the Settlement set forth therein is not approved
        23 or consummated for any reason whatsoever, the Stipulation and Settlement and all
        24 proceedings had in connection therewith shall be without prejudice to the rights of
        25 the Settling Parties status quo ante.
        26           27.   Pending final determination of whether the proposed Settlement
        27 should be approved, neither the Lead Plaintiffs, nor any Class Member, directly or
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        28                                                                      [PROPOSED] ORDER
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            1 indirectly, representatively, or in any other capacity, shall commence or prosecute
            2 against any of the Released Defendant Parties, any action or proceeding in any
            3 court or tribunal asserting any of the Released Plaintiffs’ Claims.
            4        28.    The Court’s orders entered during this Litigation relating to the
            5 confidentiality of information shall survive this Settlement.
            6
            7        IT IS SO ORDERED.
            8 DATED: _________________                ____________________________________
                                                      THE HONORABLE CORMAC J. CARNEY
            9
                                                      UNITED STATES DISTRICT JUDGE
        10
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1452955_1
        28                                                                          [PROPOSED] ORDER
                                                   - 12 -                     Case No. 8:13-cv-01818-CJC-J
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       INDEX OF EXHIBITS TO [PROPOSED] ORDER PRELIMINARILY APPROVING
                   SETTLEMENT AND PROVIDING FOR NOTICE




                  DOCUMENT                            EXHIBIT

  Notice of (I) Pendency of Class Action and            A-1
  Proposed Settlement; (II) Settlement Hearing;
  and (III) Motion for Attorneys’ Fees and
  Expenses

  Claim Form                                            A-2

  Summary Notice of (I) Pendency of Class               A-3
  Action and Proposed Settlement; (II)
  Settlement Hearing; and (III) Motion for
  Attorneys’ Fees and Expenses




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                    EXHIBIT A-1
Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 17 of 65 Page ID
                                  #:2506



      1                       UNITED STATES DISTRICT COURT
      2                      CENTRAL DISTRICT OF CALIFORNIA
      3                               SOUTHERN DIVISION
      4 In re QUALITY SYSTEMS, INC.              ) No. 8:13-cv-01818-CJC-JPR
                                                 )
      5 SECURITIES LITIGATION                    ) CLASS ACTION
                                                 )
      6                                          )
          This Document Relates To:              ) EXHIBIT A-1
      7                                          )
                                                 )
      8        ALL ACTIONS.                      )
                                                 )
      9
     10      NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED
     11            SETTLEMENT; (II) SETTLEMENT HEARING; AND
                (III) MOTION FOR ATTORNEYS’ FEES AND EXPENSES
     12
          A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
     13
     14 NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your
        rights may be affected by the above-captioned class action lawsuit pending in
     15 this Court (the “Litigation”) if you purchased or otherwise acquired the
     16 common stock of Quality Systems, Inc. (“QSI”) from May 26, 2011 through
        July 25, 2012, inclusive (the “Class Period”), and were damaged thereby.
     17
        NOTICE OF SETTLEMENT: Please also be advised that the City of Miami
     18
        Fire Fighters’ and Police Officers’ Retirement Trust (“Miami”) and Arkansas
     19 Teacher Retirement System (“ATRS”) (collectively, “Lead Plaintiffs”), on
        behalf of the Class (as defined in ¶1 below), have reached a proposed
     20
        settlement of the Litigation for a total of $19 million in cash that will resolve
     21 all claims in the Litigation (the “Settlement”).
     22 This Notice explains important rights you may have, including your possible
     23 receipt of cash from the Settlement. Your legal rights will be affected whether
        or not you act. Please read this Notice carefully!
     24
              1.     Description of the Litigation and the Class: This Notice relates to a
     25
        proposed Settlement of a class action lawsuit pending against the following
     26 defendants:     QSI, Steven T. Plochocki, Paul Holt, and Sheldon Razin
        (“Defendants”) (collectively, with Lead Plaintiffs, the “Settling Parties”). The
     27
        proposed Settlement, if approved by the Court, will apply to the following Class
     28                                              NOTICE OF PENDENCY OF CLASS ACTION
                                             -1-               AND PROPOSED SETTLEMENT
                                                                   Case No. 8:13-cv-01818-CJC-JPR




                                                                                  Exhibit A-1
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      1 (the “Class”): all persons and entities who purchased or otherwise acquired QSI
        common stock during the Class Period and were damaged thereby. Excluded from
      2 the Class are: (a) Defendants; (b) immediate family members of the individual
      3 Defendants (as defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and
        (1)(b)(ii)); (c) present or former executive officers or directors of QSI and their
      4 immediate family members (as defined in 17 C.F.R. §229.404 Instructions
      5 (1)(a)(iii) and (1)(b)(ii)); (d) any firm or entity in which any Defendant has or had
        a controlling interest during the Class Period; (e) any affiliates, parents, or
      6 subsidiaries of QSI; (f) all QSI plans that are covered by ERISA; and (g) the legal
      7 representatives, agents, affiliates, heirs, beneficiaries, successors-in-interest, or
        assigns of any excluded Person, in their respective capacity as such. Also excluded
      8 from the Class are those Persons who exclude themselves by submitting a request
      9 for exclusion, as set forth in ¶58 below, that is accepted by the Court. Anyone with
        questions as to whether or not they are excluded from the Class may call the
     10 Claims Administrator toll-free at 1-866-963-9980.
     11          2.    Statement of Class’s Recovery: Subject to Court approval, and as
     12   described more fully in ¶¶47-51 below, Lead Plaintiffs, on behalf of the Class,
          have agreed to settle all Released Plaintiffs’ Claims (as defined in ¶48 below)
     13
          against Defendants and other Released Defendant Parties (as defined in ¶49 below)
     14   in exchange for a settlement payment of $19 million in cash (the “Settlement
          Amount”) to be deposited into an escrow account. The Net Settlement Fund (the
     15
          Settlement Fund less Taxes and Tax Expenses, Notice and Administration
     16   Expenses, and attorneys’ fees and litigation expenses and Lead Plaintiffs’ expenses
          awarded by the Court) will be distributed in accordance with a plan of allocation
     17
          (the “Plan of Allocation”) that will be approved by the Court and will determine
     18   how the Net Settlement Fund shall be distributed to Members of the Class. The
          Plan of Allocation is a basis for determining the relative positions of Class
     19
          Members for purposes of allocating the Net Settlement Fund. The proposed Plan
     20   of Allocation is included in this Notice, and may be modified by the Court without
          further notice.
     21
     22         3.    Statement of Average Distribution Per Share: The Settlement
          Fund consists of the $19 million Settlement Amount plus interest earned.
     23   Assuming all potential Class Members elect to participate, the estimated average
     24   recovery is $0.63 per damaged share before fees and expenses. Class Members
          may recover more or less than this amount depending on, among other factors, the
     25   aggregate value of the Recognized Claims represented by valid and acceptable
     26   Claim Forms as explained in the Plan of Allocation; when their shares were
          purchased or acquired and the price at the time of purchase or acquisition; whether
     27   the shares were sold, and if so, when they were sold and for how much. In
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              -2-                 AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1 addition, the actual recovery of Class Members may be further reduced by the
        payment of fees and costs from the Settlement Fund, as approved by the Court.
      2
                4.    Statement of the Parties’ Position on Damages: Defendants deny
      3 all claims of wrongdoing, that they engaged in any wrongdoing, that they are liable
      4 to Lead Plaintiffs and/or the Class and that Lead Plaintiffs or other Members of the
        Class suffered any injury. Moreover, the parties do not agree on the amount of
      5 recoverable damages if Lead Plaintiffs were to prevail on each of the claims. The
      6 issues on which the parties disagree include, but are not limited to, whether: (1) the
        statements made or facts allegedly omitted were material, false or misleading;
      7 (2) Defendants are otherwise liable under the securities laws for those statements
      8 or omissions; and (3) all or part of the damages allegedly suffered by Members of
        the Class were caused by economic conditions or factors other than the allegedly
      9 false or misleading statements or omissions.
     10
                5.    Statement of Attorneys’ Fees and Expenses Sought: Lead Counsel
     11 will apply to the Court, on behalf of all Plaintiffs’ Counsel, for an award of
     12 attorneys’ fees from the Settlement Fund of no more than 25% of the Settlement
        Amount, plus interest earned at the same rate and for the same period as earned by
     13 the Settlement Fund. In addition, Lead Counsel also will apply to the Court for
     14 payment from the Settlement Fund for Plaintiffs’ Counsel’s litigation expenses
        (reasonable expenses or charges of Plaintiffs’ Counsel in connection with
     15 commencing and prosecuting the Litigation), and may apply for reimbursement of
     16 Lead Plaintiffs’ time and expenses incurred in representing the Class, in a total
        amount not to exceed $300,000, plus interest earned at the same rate and for the
     17 same period as earned by the Settlement Fund. If the Court approves Lead
     18 Counsel’s fee and expense application, the estimated average cost per damaged
        share is $0.17.
     19
                6.    Identification of Attorneys’ Representatives: Lead Plaintiffs and
     20
        the Class are being represented by Robbins Geller Rudman & Dowd LLP and
     21 Bernstein Litowitz Berger & Grossmann LLP (collectively, “Lead Counsel”). Any
        questions regarding the Settlement should be directed to Robert R. Henssler Jr., Esq.
     22
        at Robbins Geller Rudman & Dowd LLP, 655 W. Broadway, Suite 1900, San
     23 Diego, CA 92101, (800) 449-4900, bhenssler@rgrdlaw.com, or Benjamin Galdston,
        Esq. at Bernstein Litowitz Berger & Grossmann LLP, 12481 High Bluff Drive, Suite
     24
        300, San Diego, CA 92130, (800) 380-8496, blbg@blbglaw.com.
     25
     26
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                               -3-                AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




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      1      YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT
      2   DO NOTHING                      Get no payment. Remain a Class Member.
      3                                   Give up your rights.
      4   REMAIN A MEMBER OF THE          This is the only way to be potentially
      5   CLASS AND SUBMIT A CLAIM        eligible to receive a payment. If you wish
          FORM POSTMARKED NO              to obtain a payment as a Member of the
      6   LATER THAN [_______], 2018      Class, you will need to file a claim form
      7                                   (the “Claim Form” or “Proof of Claim
                                          Form”), which is included with this Notice,
      8                                   postmarked no later than _______ __,
      9                                   2018.
     10   EXCLUDE YOURSELF FROM           Receive no payment pursuant to this
          THE CLASS (OPT OUT) BY          Settlement. This is the only option that
     11
          SUBMITTING A WRITTEN            allows you to ever potentially be part of
     12   REQUEST FOR EXCLUSION SO        any other lawsuit against any of the
     13   THAT IT IS RECEIVED NO          Defendants or the other Released
          LATER THAN [_______], 2018      Defendant Parties concerning the Released
     14                                   Plaintiffs’ Claims. Should you elect to
     15                                   exclude yourself from the Class, you
                                          should understand that Defendants and the
     16                                   other Released Defendant Parties will have
     17                                   the right to assert any and all defenses they
                                          may have to any claims that you may seek
     18                                   to assert, including, without limitation, the
     19                                   defense that any such claims are untimely
                                          under applicable statutes of limitations and
     20                                   statutes of repose.
     21   OBJECT TO THE SETTLEMENT        Write to the Court about your view on the
     22   SO THAT IT IS RECEIVED NO       Settlement, or why you don’t think the
          LATER THAN [_______], 2018      Settlement is fair to the Class.
     23
     24                                   If you do not exclude yourself from the
                                          Class, you may object to the Settlement, the
     25                                   Plan of Allocation, or the request for
     26                                   attorneys’ fees and litigation expenses.
                                          You must still submit a Claim Form in
     27                                   order to be potentially eligible to receive
     28                                          NOTICE OF PENDENCY OF CLASS ACTION
                                        -4-                AND PROPOSED SETTLEMENT
                                                              Case No. 8:13-cv-01818-CJC-JPR




                                                                              Exhibit A-1
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      1                                          any money from the Settlement Fund.

      2   GO TO THE HEARING ON                   Ask to speak in Court about the fairness of
          [_______], 2018, AT __:__ _.m.,        the Settlement, the proposed Plan of
      3   AND FILE A NOTICE OF                   Allocation, or the request for attorneys’
      4   INTENTION TO APPEAR SO                 fees and litigation expenses.
          THAT IT IS RECEIVED NO
      5
          LATER THAN [_______], 2018
      6
      7
                               WHAT THIS NOTICE CONTAINS
      8   Why Did I Get This Notice?                                                Page __
      9   What Is This Case About? What Has Happened So Far?                        Page __
          How Do I Know If I Am Affected By The Settlement?                         Page __
     10
          What Are Lead Plaintiffs’ Reasons For The Settlement?                     Page __
     11   What Might Happen If There Were No Settlement?                            Page __
     12   How Much Will My Payment Be?                                              Page __
          What Rights Am I Giving Up By Agreeing To The Settlement?                 Page __
     13   What Payment Are The Attorneys For The Class Seeking?                     Page __
     14   How Will The Lawyers Be Paid?
          How Do I Participate In The Settlement?                                   Page __
     15   What Do I Need To Do?
     16   What If I Do Not Want To Be A Part Of The Settlement?                     Page __
          How Do I Exclude Myself?
     17   When And Where Will The Court Decide Whether To Approve                   Page __
     18   The Settlement? Do I Have To Come To The Hearing?
          May I Speak At The Hearing If I Don’t Like The Settlement?
     19   What If I Bought Shares On Someone Else’s Behalf?                         Page __
     20   Can I See The Court File? Whom Should I Contact If I Have                 Page __
          Questions?
     21
     22                          WHY DID I GET THIS NOTICE
     23
                 7.     The purpose of this Notice is to inform you about (a) this Litigation,
     24   (b) the certification of the Class, (c) the terms of the proposed Settlement, and
          (d) your rights in connection with a hearing to be held before the United States
     25
          District Court, Central District of California, Southern Division (the “Court”), on
     26   _________, 2018, at____ _.m., to consider the fairness, reasonableness, and
          adequacy of the Settlement and related matters. This Notice also describes the
     27
          steps to be taken by those who wish to be excluded from the Class and, for those
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                               -5-                AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1   who remain Class Members, the steps necessary to seek to be potentially eligible
          to share in the distribution of the Net Settlement Fund in the event the Settlement
      2   is approved by the Court.
      3
                 8.    A class action is a type of lawsuit in which the claims of a number
      4   of individuals are resolved together, thus providing the class members with both
          consistency and efficiency. In a class action lawsuit, the Court selects one or
      5
          more people, known as class representatives, to sue on behalf of all people with
      6   similar claims, commonly known as the class or the class members. (For more
          information on excluding yourself from the Class, please read “What If I Do Not
      7
          Want To Be A Part Of The Settlement? How Do I Exclude Myself?” located
      8   below.) In the Litigation, the Court has appointed Lead Plaintiffs as the Class
          Representatives and Lead Counsel as Class Counsel, for purposes of the
      9
          Settlement.
     10
                 9.     The Court in charge of this case is the United States District Court
     11   for the Central District of California, Southern Division, and the case is known
     12   as In re Quality Systems, Inc. Securities Litigation, Case No. 8:13-cv-01818-
          CJC-JPR. The judge presiding over this case is the Honorable Cormac J.
     13   Carney, United States District Judge. The people who are suing are called
     14   plaintiffs, and those who are being sued are called defendants. In this case, the
          Defendants are QSI, Steven T. Plochocki, Paul Holt, and Sheldon Razin.
     15
     16         10. This Notice explains the lawsuit, the Settlement, your legal rights,
          what benefits are available, who is eligible for them, and how to get them. The
     17   purpose of this Notice is to inform you of this case, that it is a class action, how
     18   you might be affected, and how to exclude yourself from the Settlement if you
          wish to do so. It also is being sent to inform you of the terms of the proposed
     19   Settlement, and of a hearing to be held by the Court to consider the fairness,
     20   reasonableness, and adequacy of the proposed Settlement, the proposed Plan of
          Allocation, and the application by Lead Counsel for attorneys’ fees and litigation
     21   expenses (the “Settlement Hearing”).
     22         11. The Settlement Hearing will be held on ______, 2018, at ________
     23   _.m., before the Honorable Cormac J. Carney, at the United States District
          Court, Central District of California, Southern Division, Ronald Reagan Federal
     24   Building and United States Courthouse, 411 West Fourth Street, Santa Ana, CA
     25   92701, Courtroom 9B, for the following purposes:
     26         (a)    to determine whether the proposed Settlement on the terms and
     27                conditions provided for in the Stipulation is fair, reasonable, and

     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                               -6-                AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




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      1               adequate and should be approved by the Court;

      2         (b)   to determine whether the Judgment as provided for under the
                      Stipulation of Settlement dated July 16, 2018 (the “Stipulation”)
      3               should be entered;
      4
                (c)   to determine whether the proposed Plan of Allocation for the net
      5               proceeds of the Settlement is fair and reasonable and should be
      6               approved by the Court;

      7         (d)   to determine whether the application by Lead Counsel for an award
                      of attorneys’ fees and litigation expenses should be approved; and
      8
      9         (e)   to rule upon such other matters as the Court may deem appropriate.

     10         12. This Notice does not express any opinion by the Court concerning
          the merits of any claim in the Litigation, and the Court still has to decide
     11   whether to approve the Settlement. If the Court approves the Settlement,
     12   payments to Authorized Claimants will be made after any appeals are resolved,
          and after the completion of all claims processing. This process takes time.
     13   Please be patient.
     14
     15     WHAT IS THIS CASE ABOUT? WHAT HAS HAPPENED SO FAR?

     16          13. This Litigation arises under Sections 10(b) and 20(a) of the
     17   Securities Exchange Act of 1934, and alleges that during the period between
          May 26, 2011 and July 25, 2012, inclusive (the “Class Period”), Defendants QSI,
     18   Steven T. Plochocki, Paul Holt and Sheldon Razin made materially false and
     19   misleading statements about QSI’s business performance and conditions. More
          specifically, Lead Plaintiffs allege that during the Class Period, Defendants
     20   misled investors regarding QSI’s sales opportunities (or “pipeline”), market
     21   demand for QSI’s products and QSI’s projected earnings growth.

     22          14. Lead Plaintiffs allege that during the Class Period, Defendants knew
          or recklessly disregarded that QSI’s sales prospects were declining as: (1) the
     23   market for QSI’s products had become “saturated”; (2) there were less
     24   “greenfield” opportunities, which meant more customers already had what QSI
          was selling; and (3) QSI’s pipeline of sales opportunities was shrinking. Lead
     25   Plaintiffs allege that Defendants concealed these facts from investors and that
     26   this scheme artificially inflated QSI’s stock price during the Class Period. On
          July 26, 2012, QSI announced that its income and earnings had declined
     27   compared to the previous year, and QSI retracted its previous guidance for fiscal
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
                                             -7-                 AND PROPOSED SETTLEMENT
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                    Exhibit A-1
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      1   year 2013. QSI’s stock price declined to $15.95 per share at the close of trading
          on July 26, 2012, down 33% from the previous day’s closing price.
      2
                 15. On April 7, 2014, Lead Plaintiffs filed their Amended Complaint
      3   for Violations of the Federal Securities Laws. On June 20, 2014, Defendants
      4   moved to dismiss this complaint, which was opposed by Lead Plaintiffs. On
          October 20, 2014, the Court issued an order granting Defendants’ motion to
      5   dismiss. The United States Court of Appeals for the Ninth Circuit reversed this
      6   decision on July 28, 2017. Defendants filed a petition for a writ of certiorari to
          the United States Supreme Court for review of the Ninth Circuit’s July 28, 2017
      7   decision, which was pending at the time of the Settlement. Defendants filed
      8   their answer to the Amended Complaint on November 7, 2017.
      9          16. Following the Court of Appeals’ decision regarding Defendants’
     10   motion to dismiss, Lead Plaintiffs and Defendants began formal discovery. The
          Settling Parties served written discovery on each other, and issued subpoenas to
     11   third parties. At the time settlement was reached, Lead Plaintiffs had collected
     12   over 350,000 pages of documents from Defendants and various third parties.
          Similarly, Defendants collected over 11,000 pages of documents from Lead
     13   Plaintiffs, their investment managers and other third parties.
     14
                 17. In the course of the Litigation, the Settling Parties engaged the
     15   services of Gregory P. Lindstrom, Esq., of Phillips ADR, a nationally recognized
          mediator. The Settling Parties engaged in an in-person mediation session with
     16
          Mr. Lindstrom on May 9, 2018. While the Settling Parties did not reach an
     17   agreement to settle the Litigation at the mediation, the Settling Parties continued
          settlement negotiations with the assistance of Mr. Lindstrom who provided the
     18
          Settling Parties with a Mediator’s Proposal on May 10, 2018. The Settling
     19   Parties each accepted the Mediator’s Proposal to settle the Litigation for
          $19 million.
     20
     21      HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
     22
                 18. If you are a Member of the Class, you are subject to the Settlement
     23   unless you timely request to be excluded. The Class consists of all persons or
     24   entities who purchased or otherwise acquired QSI common stock during the
          Class Period and were damaged thereby. Excluded from the Class are: (a)
     25   Defendants; (b) immediate family members of the individual Defendants (as
     26   defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and (1)(b)(ii)); (c) present
          or former executive officers or directors of QSI and their immediate family
     27   members (as defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              -8-                 AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




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      1   (1)(b)(ii)); (d) any firm or entity in which any Defendant has or had a controlling
          interest during the Class Period; (e) any affiliates, parents, or subsidiaries of
      2   QSI; (f) all QSI plans that are covered by ERISA; and (g) the legal
      3   representatives, agents, affiliates, heirs, beneficiaries, successors-in-interest, or
          assigns of any excluded Person, in their respective capacity as such. Also
      4   excluded from the Class are any persons or entities who exclude themselves by
      5   submitting a request for exclusion in accordance with the requirements set forth
          in this Notice. (See “What If I Do Not Want To Be A Part Of The Settlement?
      6   How Do I Exclude Myself?,” below.) Anyone with questions as to whether or
      7   not they are excluded from the Class may call the Claims Administrator toll-free
          at 1-866-963-9980.
      8
                RECEIPT OF THIS NOTICE DOES NOT NECESSARILY MEAN
      9         THAT YOU ARE A CLASS MEMBER OR THAT YOU ARE
     10         ENTITLED TO RECEIVE PROCEEDS FROM THE
                SETTLEMENT.     IF YOU WISH TO BE POTENTIALLY
     11         ELIGIBLE TO RECEIVE A DISTRIBUTION OF THE
     12         SETTLEMENT PROCEEDS, YOU MUST COMPLETE, SIGN
                AND    SUBMIT     THE   ENCLOSED   CLAIM      FORM
     13
                POSTMARKED NO LATER THAN [____________], 2018.
     14
     15   WHAT ARE LEAD PLAINTIFFS’ REASONS FOR THE SETTLEMENT?
     16          19. Lead Plaintiffs and Lead Counsel believe that the claims asserted
     17   against Defendants have merit. Lead Plaintiffs and Lead Counsel recognize,
          however, the expense and length of continued proceedings necessary to pursue
     18   their claims against Defendants through trial and appeals, as well as the
     19   difficulties in establishing liability, obtaining class certification and establishing
          damages. Lead Plaintiffs and Lead Counsel have considered the amount of the
     20   Settlement, as well as the uncertain outcome and risk in complex lawsuits like
     21   this one. Such risks include, in particular, the risk of Defendants’ pending
          petition for a writ of certiorari to the United States Supreme Court for review of
     22   the Ninth Circuit’s July 28, 2017 opinion reversing the District Court’s dismissal
     23   of the action and the risk, among others, that Lead Plaintiffs would be
          unsuccessful in proving that Defendants’ alleged misstatements were materially
     24   false and misleading, made with scienter (that is, the requisite state of mind), or
     25   caused compensable damages to the Class.

     26         20. In light of the amount of the Settlement and the immediacy of
          recovery to the Class, Lead Plaintiffs and Lead Counsel believe that the
     27
          proposed Settlement is fair, reasonable and adequate, and in the best interests of
     28                                                  NOTICE OF PENDENCY OF CLASS ACTION
                                                -9-                AND PROPOSED SETTLEMENT
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                      Exhibit A-1
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      1   the Class. Lead Plaintiffs and Lead Counsel believe that the Settlement provides
          a substantial benefit now, namely $19 million cash (less the various deductions
      2   described in this Notice), as compared to the risk that the claims would produce
      3   a smaller recovery, or no recovery after summary judgment, trial and appeals,
          possibly years in the future.
      4
                 21. Defendants have denied and continue to deny each and all of the
      5   claims alleged by Lead Plaintiffs in the Litigation. Defendants expressly have
      6   denied and continue to deny all charges of wrongdoing or liability against them
          arising out of any of the conduct, statements, acts or omissions alleged, or that
      7   could have been alleged, in the Litigation. Defendants also have denied and
      8   continue to deny, among other things, the allegations that Lead Plaintiffs or the
          Class have suffered any damage, that Lead Plaintiffs or the Class were harmed
      9   by the conduct alleged in the Litigation, or that the Litigation is properly
     10   certifiable as a class action for litigation purposes.
     11
              WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?
     12
     13          22. If there were no Settlement and Lead Plaintiffs failed to establish
          any essential legal or factual element of the alleged claims, neither Lead
     14   Plaintiffs nor the Class would recover anything from Defendants. If Lead
     15   Plaintiffs were not to succeed in obtaining class certification, Defendants may
          have asserted the defense that the claims of Class Members were untimely under
     16   applicable statutes of limitations and statutes of repose. Also, if Defendants
     17   were successful in proving any of their defenses, the Class likely would recover
          substantially less than the amount provided in the Settlement, or nothing at all.
     18
     19                        HOW MUCH WILL MY PAYMENT BE?
     20
                 23. Defendants have agreed to cause to be paid Nineteen Million
     21   Dollars ($19,000,000.00) in cash into escrow for the benefit of the Class. At this
     22   time, it is not possible to make any determination as to how much individual
          Class Members may receive from the Settlement. Lead Plaintiffs have proposed
     23   a plan for allocating the Net Settlement Fund to those Class Members who
     24   timely submit valid Proof of Claim Forms. The Plan of Allocation proposed by
          Lead Plaintiffs is set forth below, and additional information is available on the
     25   website       created        for     purposes        of      this      Settlement,
     26   www.QSISecuritiesSettlement.com.

     27         24.   Payment pursuant to the Plan of Allocation shall be conclusive
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
                                             - 10 -              AND PROPOSED SETTLEMENT
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                    Exhibit A-1
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      1   against all Authorized Claimants. No person or entity shall have any claim
          based on distributions made substantially in accordance with the Stipulation and
      2   the Settlement contained therein, the Plan of Allocation, or further order(s) of the
      3   Court against Lead Counsel, Lead Plaintiffs, Class Members, the Claims
          Administrator, Defendants and the other Released Defendant Parties (defined
      4   below), or any person or entity designated by Lead Counsel. All Members of the
      5   Class who fail to timely submit an acceptable Claim Form by the deadline set by
          the Court, or such other deadline as may be ordered by the Court, or otherwise
      6   allowed, shall be forever barred from receiving any payments pursuant to the
      7   Settlement, but will in all other respects be subject to and bound by the terms of
          the Settlement, including the release of the Class Member’s Released Plaintiffs’
      8   Claims.
      9          25. Participants in and beneficiaries of a QSI plan covered by ERISA
     10   (“QSI ERISA Plan”) should NOT include any information relating to their
          transactions in QSI common stock held through the QSI ERISA Plan in any
     11   Claim Form that they may submit in this Litigation. They should include ONLY
     12   those shares that they purchased or acquired outside of the QSI ERISA Plan.
     13         26. The Court has reserved jurisdiction to allow, disallow, or adjust on
     14   equitable grounds the claim of any Member of the Class.

     15         27. The Plan of Allocation set forth below is the proposed plan
          submitted by Lead Plaintiffs and Lead Counsel for the Court’s approval. The
     16
          Court may approve this plan as proposed or it may modify it without further
     17   notice to the Class.
     18          28. Each Claimant shall be deemed to have submitted to the jurisdiction
     19   of the United States District Court for the Central District of California, Southern
          Division, with respect to his, her or its Claim Form.
     20
                 29. Persons and entities that exclude themselves from the Class will not
     21
          be eligible to receive a distribution from the Net Settlement Fund and should not
     22   submit Proof of Claim Forms.
     23
                                     PLAN OF ALLOCATION
     24
     25          30. The objective of the Plan of Allocation is to equitably distribute the
     26   settlement proceeds to those Class Members who suffered economic losses as a
          proximate result of the alleged wrongdoing. In developing the Plan of
     27   Allocation, Lead Plaintiffs’ damages expert calculated the potential amount of
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              - 11 -              AND PROPOSED SETTLEMENT
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                                                                                     Exhibit A-1
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      1   estimated alleged artificial inflation in QSI’s common stock which allegedly was
          proximately caused by Defendants’ alleged false and misleading statements and
      2   material omissions. In calculating the estimated alleged artificial inflation
      3   allegedly caused by Defendants’ alleged misrepresentations and omissions, Lead
          Plaintiffs’ damages expert considered the market and industry adjusted price
      4   changes in QSI’s stock price following certain corrective disclosures regarding
      5   QSI and the allegations in the Amended Complaint. The estimated potential
          alleged artificial inflation in QSI’s common stock is shown in Table A set forth
      6   at the end of this Notice.
      7         31. The calculations made pursuant to the Plan of Allocation are not
      8   intended to be estimates of, nor indicative of, the amounts that Class Members
          might have been able to recover after a trial. Nor are the calculations pursuant to
      9   the Plan of Allocation intended to be estimates of the amounts that will be paid
     10   to Authorized Claimants pursuant to the Settlement. The computations under the
          Plan of Allocation are only a method to weigh the claims of Authorized
     11   Claimants against one another for the purposes of making pro rata allocations of
     12   the Net Settlement Fund.
     13             CALCULATION OF RECOGNIZED LOSS AMOUNTS
     14
                 32. In order to have recoverable damages, a disclosure of the alleged
     15   truth omitted or concealed by the misrepresentations must be the cause of the
          decline in the price of QSI’s common stock. In this case, Lead Plaintiffs allege
     16
          that Defendants made false statements and omitted material facts during the
     17   Class Period, which had the effect of artificially inflating the prices of QSI’s
          common stock.
     18
     19          33. Alleged corrective disclosures that removed the artificial inflation
          from the stock price occurred on the following dates: May 7, 2012; May 8,
     20   2012; May 10, 2012; and July 26, 2012. The estimated inflation removed by
     21   each of these corrective disclosures, and the partial rebound on May 9, 2012,
          was used as the basis for the artificial inflation (see Table A). These fraud
     22   related price movements are as follows:
     23         May 7, 2012 price decline:
     24              $2.71 per share
                     May 7, 2012, market adjusted price decline.
     25
     26         May 8, 2012 price decline:
                     $2.84 per share
     27              May 8, 2012, market adjusted price decline.
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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                                                                                     Exhibit A-1
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      1
                May 9, 2012 partial price rebound:
      2              $0.97 per share
      3              May 9, 2012, market adjusted price increase.

      4         May 10, 2012 price decline:
      5              $1.78 per share
                     May 10, 2012, market adjusted price decline.
      6
      7         July 26, 2012 price decline:
                      $7.66 per share
      8               July 26, 2012, market adjusted price decline.
      9         34. Based on the formula set forth below, a “Recognized Loss Amount”
     10   will be calculated for each purchase or acquisition of QSI common stock during
          the Class Period that is listed in the Proof of Claim Form and for which adequate
     11   documentation is provided. In the calculations below, if a Recognized Loss
     12   Amount calculates to a negative number, that Recognized Loss Amount shall be
          zero.
     13
     14       For each share of QSI common stock purchased or acquired between
          May 26, 2011, through July 25, 2012, inclusive, and:
     15
                1. Sold before May 7, 2012, the Recognized Loss Amount shall be zero.
     16
                2. Sold between May 7, 2012, and July 25, 2012, inclusive, the
     17            Recognized Loss Amount shall be the lesser of:
     18               (a)    the amount of artificial inflation per share as set forth
                             in Table A on the date of purchase, minus the amount
     19                      of artificial inflation per share as set forth in Table A
     20                      on the date of the sale; or
     21               (b)    purchase/acquisition price minus the sale price.
     22         3.    Sold between July 26, 2012, and October 23, 2012, inclusive, the
                      Recognized Loss Amount shall be the least of:
     23
     24               (a)    the amount of artificial inflation per share as set forth
                             in Table A on the date of purchase;
     25
                      (b)    the purchase/acquisition price minus the sale price; or
     26
     27               (c)    the purchase/acquisition price minus the average
                             closing price between July 26, 2012, and the date of
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
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                                                                                    Exhibit A-1
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      1                         sale as shown on Table B set forth at the end of this
                                Notice.
      2
                    4.    Held as of the close of trading on October 23, 2012, the Recognized
      3                   Loss Amount shall be the lesser of:
      4
                          (a)   the amount of artificial inflation per share as set forth
      5                         in Table A on the date of purchase; or
      6                   (b)   the purchase/acquisition price minus $18.07 per share,
      7                         the average closing price for QSI’s common stock
                                between July 26, 2012 and October 23, 2012 (the last
      8                         entry in Table B).1
      9                              ADDITIONAL PROVISIONS
     10
                    35. The Net Settlement Fund will be allocated among all Authorized
     11       Claimants based on the amount of each Authorized Claimant’s Recognized
              Claim (defined below).
     12
     13              36. If a Class Member has more than one purchase/acquisition or sale
              of QSI’s common stock, purchases/acquisitions and sales shall be matched on a
     14       First In, First Out (“FIFO”) basis. Class Period sales will be matched first
     15       against any holdings at the beginning of the Class Period, and then against
              purchases/acquisitions in chronological order, beginning with the earliest
     16       purchase/acquisition made during the Class Period.
     17
                     37. A Claimant’s “Recognized Claim” under the Plan of Allocation
     18       shall be the sum of his, her or its Recognized Loss Amounts.
     19
          1
     20          Pursuant to PSLRA, Section 21D(e)(1), “in any private action arising under
          this Act in which the plaintiff seeks to establish damages by reference to the
     21   market price of a security, the award of damages to the plaintiff shall not exceed
     22   the difference between the purchase or sale price paid or received, as appropriate,
          by the plaintiff for the subject security and the mean trading price of that security
     23   during the 90-day period beginning on the date on which the information
     24   correcting the misstatement or omission that is the basis for the action is
          disseminated to the market.” Consistent with the requirements of the PSLRA,
     25   Recognized Loss Amounts are reduced to an appropriate extent by taking into
     26   account the closing prices of QSI’s common stock during the 90-day look-back
          period. The mean (average) closing price for QSI’s common stock during this 90-
     27
          day look-back period was $18.07 per share.
     28                                                   NOTICE OF PENDENCY OF CLASS ACTION
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                                                                                       Exhibit A-1
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      1         38. The Net Settlement Fund will be distributed to Authorized
          Claimants on a pro rata basis based on the relative size of their Recognized
      2
          Claims. Specifically, a “Distribution Amount” will be calculated for each
      3   Authorized Claimant, which shall be the Authorized Claimant’s Recognized
          Claim divided by the total Recognized Claims of all Authorized Claimants,
      4
          multiplied by the total amount in the Net Settlement Fund. If any Authorized
      5   Claimant’s Distribution Amount calculates to less than $10.00, it will not be
          included in the calculation and no distribution will be made to such Authorized
      6
          Claimant.
      7
                 39. Purchases or acquisitions and sales of QSI’s common stock shall be
      8   deemed to have occurred on the “contract” or “trade” date as opposed to the
      9   “settlement” or “payment” date. The receipt or grant by gift, inheritance or
          operation of law of QSI’s common stock during the Class Period shall not be
     10   deemed a purchase, acquisition or sale of QSI’s common stock for the
     11   calculation of an Authorized Claimant’s Recognized Loss Amount, nor shall the
          receipt or grant be deemed an assignment of any claim relating to the
     12   purchase/acquisition of any QSI’s common stock unless (i) the donor or
     13   decedent purchased or otherwise acquired such QSI’s common stock during the
          Class Period; (ii) no Claim Form was submitted by or on behalf of the donor, on
     14   behalf of the decedent, or by anyone else with respect to those shares; and (iii) it
     15   is specifically so provided in the instrument of gift or assignment.
     16         40. The date of covering a “short sale” is deemed to be the date of
     17   purchase or acquisition of the QSI common stock. The date of a “short sale” is
          deemed to be the date of sale of the QSI common stock. Under the Plan of
     18   Allocation, however, the Recognized Loss Amount on “short sales” is zero. In
     19   the event that a Claimant has an opening short position in QSI’s common stock,
          the earliest Class Period purchases or acquisitions of QSI’s common stock shall
     20   be matched against such opening short position, and not be entitled to a
     21   recovery, until that short position is fully covered.

     22         41. Option contracts are not securities eligible to participate in the
          Settlement. With respect to QSI’s common stock purchased or sold through the
     23   exercise of an option, the purchase/sale date of the common stock is the exercise
     24   date of the option and the purchase/sale price of the common stock is the
          exercise price of the option.
     25
     26          42. To the extent a Claimant had a market gain with respect to his, her,
          or its overall transactions in QSI’s common stock during the Class Period, the
     27   value of the Claimant’s Recognized Claim shall be zero. Such Claimants shall
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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                                                                                     Exhibit A-1
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      1       in any event be bound by the Settlement. To the extent that a Claimant suffered
              an overall market loss with respect to his, her, or its overall transactions in QSI’s
      2       common stock during the Class Period, but that market loss was less than the
      3       total Recognized Claim calculated above, then the Claimant’s Recognized Claim
              shall be limited to the amount of the actual market loss.
      4
                    43. For purposes of determining whether a Claimant had a market gain
      5       with respect to his, her, or its overall transactions in QSI’s common stock during
      6       the Class Period or suffered a market loss, the Claims Administrator shall
              determine the difference between (i) the Total Purchase Amount2 and (ii) the
      7       sum of the Total Sales Proceeds3 and Holding Value.4 This difference shall be
      8       deemed a Claimant’s market gain or loss with respect to his, her, or its overall
              transactions in QSI’s common stock during the Class Period.
      9
     10              44. After the initial distribution of the Net Settlement Fund, the Claims
              Administrator shall make reasonable and diligent efforts to have Authorized
     11       Claimants cash their distribution checks. To the extent any monies remain in the
     12       fund within a reasonable time after the initial distribution, if Lead Counsel, in
              consultation with the Claims Administrator, determine that it is cost-effective to
     13       do so, the Claims Administrator shall conduct a re-distribution of the funds
     14       remaining after payment of any unpaid fees and expenses incurred in
              administering the Settlement, including for such re-distribution, to Authorized
     15       Claimants who have cashed their initial distributions and who would receive at
     16       least $10.00 from such re-distribution. Additional re-distributions to Authorized
              Claimants who have cashed their prior checks and who would receive at least
     17       $10.00 on such additional re-distributions may occur thereafter if Lead Counsel,
     18       in consultation with the Claims Administrator, determine that additional re-

     19   2
               The “Total Purchase Amount” is the total amount the Claimant paid
     20 (excluding commissions and other charges) for all of QSI’s common stock
     21 purchased or acquired during the Class Period.
        3
               The Claims Administrator shall match any sales of QSI’s common stock
     22
        prior to October 24, 2012, first against the Claimant’s opening position in the stock
     23 (the proceeds of those sales will not be considered for purposes of calculating
        market gains or losses). The total amount received (excluding commissions and
     24
        other charges) for the remaining sales of QSI’s common stock sold during the
     25 Class Period shall be the “Total Sales Proceeds.”
          4
     26        The Claims Administrator shall ascribe a value of $18.07 per share for QSI’s
        common stock purchased or acquired during the Class Period and still held as of
     27
        the close of trading on October 23, 2012 (the “Holding Value”).
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
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                                                                                         Exhibit A-1
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      1   distributions, after the deduction of any additional fees and expenses incurred in
          administering the Settlement, including for such re-distributions, would be cost-
      2   effective. At such time as it is determined that the re-distribution of funds
      3   remaining in the Net Settlement Fund is not cost-effective, the remaining
          balance shall be contributed to non-sectarian, not-for-profit organization(s) to be
      4   recommended by Lead Counsel, or as otherwise ordered by the Court.
      5          45. Payment pursuant to the Plan of Allocation, or such other plan of
      6   allocation as may be approved by the Court, shall be conclusive against all
          Authorized Claimants. No person shall have any claim against Lead Plaintiffs,
      7   Lead Counsel, Lead Plaintiffs’ damages expert, or the Claims Administrator or
      8   other agent designated by Lead Counsel, or the Defendants’ releasees and/or
          their respective counsel, arising from distributions made substantially in
      9   accordance with the Stipulation, the Plan of Allocation approved by the Court, or
     10   further orders of the Court. Lead Plaintiffs and Defendants, their respective
          counsel, Lead Plaintiffs’ damages expert, and all other releasees shall have no
     11   responsibility or liability whatsoever for the investment or distribution of the
     12   Settlement Fund, the Net Settlement Fund, the Plan of Allocation, or the
          determination, administration, calculation, or payment of any Claim Form or
     13
          nonperformance of the Claims Administrator, the payment or withholding of
     14   taxes (including interest and penalties) owed by the Settlement Fund, or any
          losses incurred in connection therewith.
     15
     16          46. The Plan of Allocation set forth herein is the plan that is being
          proposed to the Court for its approval by Lead Plaintiffs after consultation with
     17   their damages expert. The Court may approve this plan as proposed or it may
     18   modify the Plan of Allocation without further notice to the Class. Any orders
          regarding any modification of the Plan of Allocation will be posted on the
     19   Settlement website.
     20
                 WHAT RIGHTS AM I GIVING UP BY AGREEING TO THE
     21                          SETTLEMENT?
     22
                 47. If the Settlement is approved, the Court will enter a judgment (the
     23   “Judgment”). The Judgment will dismiss with prejudice the claims against
     24   Defendants and will provide that Lead Plaintiffs and all other Releasing Plaintiff
          Parties (as defined in ¶50 below) shall have waived, released, discharged, and
     25   dismissed each and every one of the Released Plaintiffs’ Claims (as defined in
     26   ¶48 below), including Unknown Claims (as defined in ¶51 below), against each
          and every one of the Released Defendant Parties (as defined in ¶49 below) and
     27   shall forever be barred and enjoined from commencing, instituting, prosecuting,
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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                                                                                     Exhibit A-1
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      1   or maintaining any and all of the Released Plaintiffs’ Claims against any and all
          of the Released Defendant Parties, whether or not they execute and deliver the
      2   Claim Form or share in the Settlement Fund. Claims to enforce the terms of the
      3   Settlement are not released.

      4           48. “Released Plaintiffs’ Claims” means any and all actions, suits,
          claims, demands, rights, liabilities, obligations, damages, costs, restitution,
      5   rescission, interest, attorneys’ fees, expert or consulting fees, expenses, matters
      6   and issues whatsoever, whether known or unknown, asserted or unasserted,
          whether arising under federal, state, local, statutory, common, foreign or
      7   administrative law, or any other law, rule or regulation, whether fixed or
      8   contingent, at law or in equity, whether class or individual in nature, that any
          Releasing Plaintiff Party asserted in the Litigation or could have asserted, directly
      9   or indirectly, in any forum that arise out of or are based upon or related to (i) the
     10   purchase or acquisition of QSI common stock during the Class Period, and
          (ii) facts, claims, matters, allegations, transactions, events, disclosures,
     11   representations, statements, acts, or omissions or failures to act that were alleged,
     12   set forth, or referred to in the Amended Complaint. “Released Plaintiffs’ Claims”
          includes “Unknown Claims” as defined in ¶51 below. “Released Plaintiffs’
     13
          Claims” do not include: (i) any claims relating to the enforcement of the
     14   Settlement; (ii) any claims asserted in a derivative action or ERISA action,
          including, without limitation, the claims asserted in Timothy J. Foss v. Craig A.
     15
          Barbarosh, et al., Case No. 14-cv-00110-CJC (JPRx) (C.D. Cal.) and Kusumam
     16   Koshy v. Craig A. Barbarosh, et al., Case No. 17-cv-01694-CJC (JPRx) (C.D.
          Cal.); or (iii) any claims of any person or entity who or which submits a request
     17
          for exclusion that is accepted by the Court.
     18
                 49. “Released Defendant Parties” means each and all of the Defendants,
     19   and each of their respective past or present subsidiaries, parents, affiliates,
     20   principals, successors and predecessors, joint venturers, assigns, officers,
          directors, shareholders, underwriters, trustees, partners, members, agents,
     21   fiduciaries, contractors, employees, insurers, co-insurers, reinsurers, controlling
     22   shareholders, attorneys, accountants or auditors, financial or investment advisors
          or consultants, banks or investment bankers, personal or legal representatives,
     23   estates, heirs, related or affiliated entities, in their capacity as such, and any
     24   entity in which Defendants have a controlling interest, any member of an
          individual Defendant’s immediate family, or any trust of which any individual
     25   Defendant is a settlor or which is for the benefit of any individual Defendant
     26   and/or member(s) of his or her family, and each of the heirs, executors,
          administrators, predecessors, successors, and assigns of the foregoing.
     27
     28                                                  NOTICE OF PENDENCY OF CLASS ACTION
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      1          50. “Releasing Plaintiff Parties” means Lead Plaintiffs, Lead Counsel,
          each and every Class Member, and each of their respective past or present
      2   subsidiaries, parents, affiliates, principals, successors and predecessors, joint
      3   venturers, assigns, officers, directors, shareholders, underwriters, trustees,
          partners, members, agents, fiduciaries, contractors, employees, insurers, co-
      4   insurers, reinsurers, controlling shareholders, attorneys, accountants or auditors,
      5   financial or investment advisors or consultants, banks or investment bankers,
          personal or legal representatives, estates, heirs, related or affiliated entities in
      6   their capacity as such. Releasing Plaintiff Parties do not include any Person who
      7   timely and validly seeks exclusion from the Class.

      8          51. “Unknown Claims” means any and all Released Plaintiffs’ Claims
          which the Releasing Plaintiff Parties do not know or suspect to exist in their
      9   favor at the time of the release of the Released Defendant Parties, and any and
     10   all Released Defendants’ Claims (defined in ¶52 below) which the Released
          Defendant Parties do not know or suspect to exist in their favor at the time of the
     11   release of the Releasing Plaintiff Parties which, if known by him, her or it, might
     12   have affected his, her, or its decision(s) with respect to the Settlement, including
          the decision to object to the terms of the Settlement or to exclude himself,
     13
          herself, or itself from the Class. With respect to any and all Released Plaintiffs’
     14   Claims and Released Defendants’ Claims, the Settling Parties stipulate and agree
          that, upon the Effective Date, Lead Plaintiffs and Defendants shall expressly
     15
          waive, and each Releasing Plaintiff Party and Released Defendant Party shall be
     16   deemed to have, and by operation of the Judgment shall have expressly waived,
          the provisions, rights, and benefits of California Civil Code Section 1542, which
     17
          provides:
     18
                A general release does not extend to claims which the creditor
     19         does not know or suspect to exist in his or her favor at the time
                of executing the release, which if known by him or her must
     20         have materially affected his or her settlement with the debtor.
     21
          Lead Plaintiffs and Defendants shall expressly waive, and each Releasing
     22   Plaintiff Party and Released Defendant Party shall be deemed to have, and by
          operation of the Judgment shall have expressly waived, any and all provisions,
     23
          rights, and benefits conferred by any law of any state or territory of the United
     24   States or any foreign country, or any principle of common law, which is similar,
          comparable or equivalent in substance to California Civil Code Section 1542.
     25
          Lead Plaintiffs, any Releasing Plaintiff Party, Defendants, or any Released
     26   Defendant Party may hereafter discover facts, legal theories, or authorities in
          addition to or different from those which any of them now knows or believes to
     27
          be true with respect to the subject matter of the Released Plaintiffs’ Claims and
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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      1   the Released Defendants’ Claims, but Lead Plaintiffs and Defendants shall
          expressly, fully, finally, and forever waive, compromise, settle, discharge,
      2   extinguish, and release, and each Releasing Plaintiff Party and Released
      3   Defendant Party shall be deemed to have waived, compromised, settled,
          discharged, extinguished, and released, and upon the Effective Date and by
      4   operation of the Judgment shall have waived, compromised, settled, discharged,
      5   extinguished, and released, fully, finally, and forever, any and all Released
          Plaintiffs’ Claims and Released Defendants’ Claims as applicable, known or
      6   unknown, suspected or unsuspected, contingent or absolute, accrued or
      7   unaccrued, apparent or unapparent, which now exist, or heretofore existed, or
          may hereafter exist, without regard to the subsequent discovery or existence of
      8   such different or additional facts, legal theories, or authorities. Lead Plaintiffs
      9   and Defendants acknowledge, and the Releasing Plaintiff Parties and Released
          Defendant Parties shall be deemed by operation of the Judgment to have
     10   acknowledged, that the foregoing waiver was separately bargained for and a key
     11   element of the Settlement.

     12          52. The Judgment also will provide that Defendants and each of the
          other Released Defendant Parties shall be deemed to have waived, released,
     13
          discharged, and dismissed as against the Releasing Plaintiff Parties all claims
     14   and causes of action of every nature and description (including Unknown
          Claims), whether arising under federal, state, common, or foreign law, that any
     15
          Released Defendant Party could have asserted against any of the Releasing
     16   Plaintiff Parties that arise out of or relate in any way to the institution,
          prosecution, or settlement of the claims in the Litigation, except for claims
     17
          relating to the enforcement of the Settlement (the “Released Defendants’
     18   Claims”).
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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      1         WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS
      2            SEEKING? HOW WILL THE LAWYERS BE PAID?

      3   53. Lead Counsel have not received any payment for their services in pursuing
          claims against Defendants on behalf of the Class, nor have Lead Counsel been
      4
          paid for their expenses. Before final approval of the Settlement, Lead Counsel
      5   intend to apply to the Court for an award of attorneys’ fees on behalf of all
          Plaintiffs’ Counsel from the Settlement Fund of no more than 25% of the
      6
          Settlement Amount, plus interest. At the same time, Lead Counsel also intend to
      7   apply for the payment from the Settlement Fund for Plaintiffs’ Counsel’s
          litigation expenses and may apply for an award for reimbursement of Lead
      8
          Plaintiffs’ time and expenses directly related to their representation of the Class,
      9   in a total amount not to exceed $300,000, plus interest. The Court will
          determine the amount of the award of fees and expenses. Such sums as may be
     10
          approved by the Court will be paid from the Settlement Fund. Class Members
     11   are not personally liable for any such fees or expenses.
     12
                      HOW DO I PARTICIPATE IN THE SETTLEMENT?
     13                        WHAT DO I NEED TO DO?
     14
                54. If you fall within the definition of the Class as described above, and
     15   you are not excluded by the definition of the Class and you do not elect to
     16   exclude yourself from the Class, then you are a Class Member, and you will be
          bound by the proposed Settlement if the Court approves it, and by any judgment
     17   or determination of the Court affecting the Class. If you are a Class Member,
     18   you must submit a Claim Form and supporting documentation to establish your
          potential entitlement to share in the proceeds of the Settlement. A Claim Form is
     19   included with this Notice, or you may go to the website maintained by the
     20   Claims Administrator for the Settlement to request that a Claim Form be mailed
          to you. The website is www.QSISecuritiesSettlement.com. You may also
     21   request a Claim Form by calling toll-free 1-866-963-9980. Copies of the Claim
     22   Form can also be downloaded from Lead Counsel’s websites at
          www.rgrdlaw.com. and www.blbglaw.com. Those who exclude themselves
     23   from the Class, and those who do not submit timely and valid Claim Forms with
     24   adequate supporting documentation, will not be entitled to share in the proceeds
          of the Settlement unless otherwise ordered by the Court. Please retain all
     25   original records of your ownership of, or transactions in the shares, as they may
     26   be needed to document your claim.
     27         55.    As a Class Member, for purposes of the Settlement, you are
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              - 21 -              AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
                                                                                          - 34 -
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      1   represented by Lead Plaintiffs and Lead Counsel, unless you enter an appearance
          through counsel of your own choice at your own expense. You are not required
      2   to retain your own counsel, but if you choose to do so, such counsel must file a
      3   notice of appearance on your behalf and must serve copies of his or her notice of
          appearance on the attorneys listed in the section entitled, “When And Where
      4   Will The Court Decide Whether To Approve The Settlement?” below.
      5         56. If you do not wish to remain a Class Member, you may exclude
      6   yourself from the Class by following the instructions in the section entitled,
          “What If I Do Not Want To Be A Part Of The Settlement? How Do I Exclude
      7   Myself?” below. If you exclude yourself from the Class, you will not be eligible
      8   to receive any benefit from the Settlement and you should not submit a Claim
          Form but you will retain the right to be a part of any other lawsuit against any of
      9   the Released Defendant Parties (as defined in ¶49 above) with respect to any of
     10   the Released Plaintiffs’ Claims (as defined in ¶48 above).
     11          57. If you wish to object to the Settlement or any of its terms, the
     12   proposed Plan of Allocation, or Lead Counsel’s application for attorneys’ fees
          and litigation expenses, and if you do not exclude yourself from the Class, you
     13   may present your objections by following the instructions in the section entitled,
     14   “When And Where Will The Court Decide Whether To Approve The
          Settlement?” below. If you exclude yourself from the Class, you are not entitled
     15   to submit an objection.
     16
           WHAT IF I DO NOT WANT TO BE A PART OF THE SETTLEMENT?
     17
                          HOW DO I EXCLUDE MYSELF?
     18
                 58. Each Class Member will be bound by all determinations and
     19   judgments in this lawsuit concerning the Settlement, whether favorable or
     20   unfavorable, unless such person or entity mails, by first-class mail (or its
          equivalent outside the U.S.), or otherwise delivers a written request for exclusion
     21
          from the Class, addressed to QSI Securities Settlement, EXCLUSIONS, P.O.
     22   Box 173001, Milwaukee, WI 53217. The exclusion request must be received no
          later than ________, 2018. Each request for exclusion must clearly indicate the
     23
          name, address and telephone number of the person or entity seeking exclusion,
     24   that the sender requests to be excluded from the Class in In re Quality Systems,
          Inc. Securities Litigation, Case No. 8:13-cv-01818-CJC-JPR, and must be signed
     25
          by such person. Such persons or entities requesting exclusion are also directed
     26   to provide the following information: the number of shares of QSI common
          stock that the Person requesting exclusion (i) owned as of the opening of trading
     27
          on May 26, 2011, and (ii) purchased, acquired and/or sold from May 26, 2011
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                             - 22 -               AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
                                                                                          - 35 -
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      1   through July 25, 2012, inclusive, as well as the number of shares, dates and
          prices for each such purchase, acquisition and sale. The request for exclusion
      2   shall not be effective unless it provides the required information and is made
      3   within the time stated above, or the exclusion is otherwise accepted by the Court.
          Should you elect to exclude yourself from the Class, you should understand that
      4   Defendants and the other Released Defendant Parties will have the right to assert
      5   any and all defenses they may have to any claims that you may seek to assert,
          including, without limitation, the defense that any such claims are untimely
      6   under applicable statutes of limitations and statutes of repose.
      7          59. If you do not want to be part of the Class, you must follow these
      8   instructions for exclusion even if you have pending, or later file, another lawsuit,
          arbitration, or other proceeding relating to any Released Plaintiffs’ Claim against
      9   any of the Released Defendant Parties. Excluding yourself from the Class is the
     10   only option that allows you to be part of any other current or future lawsuit
          against Defendants or any of the other Released Defendant Parties concerning
     11   the Released Plaintiffs’ Claims. Please note, however, if you decide to exclude
     12   yourself from the Class, you may be time-barred from asserting the claims
          covered by the Litigation by a statute of repose.
     13
     14         60. If a person or entity requests to be excluded from the Class, that
          person or entity will not receive any benefit provided for in the Stipulation.
     15
                 61. If the requests for exclusion from the Settlement exceed a certain
     16
          amount, as set forth in a separate confidential supplemental agreement between
     17   Lead Plaintiffs and Defendants (the “Supplemental Agreement”), QSI shall have,
          in its discretion, the option to terminate the Settlement in accordance with the
     18
          procedures set forth in the Supplemental Agreement.
     19
     20      WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO
                         APPROVE THE SETTLEMENT?
     21             DO I HAVE TO COME TO THE HEARING?
     22        MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE
                               SETTLEMENT?
     23
     24         62. If you do not wish to object in person to the proposed
          Settlement, the proposed Plan of Allocation, and/or the application for
     25   attorneys’ fees and litigation expenses, you do not need to attend the
     26   Settlement Hearing. You can object to or participate in the Settlement
          without attending the Settlement Hearing.
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              - 23 -              AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
                                                                                          - 36 -
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      1             63. The Settlement Hearing will be held on ______, 2018, at ________
              _.m., before the Honorable Cormac J. Carney, at the United States District
      2       Court, Central District of California, Southern Division, Ronald Reagan Federal
      3       Building and United States Courthouse, 411 West Fourth Street, Santa Ana, CA
              92701, Courtroom 9B. The Court reserves the right to approve the Settlement or
      4       the Plan of Allocation, Lead Counsel’s motion for an award of attorneys’ fees
      5       and expenses, and/or any other matter related to the Settlement at or after the
              Settlement Hearing without further notice to the Members of the Class.
      6
                      64. Any Class Member who does not request exclusion such that it is
      7       received no later than _______, 2018, may object to the Settlement, the Plan of
      8       Allocation, or Lead Counsel’s request for an award of attorneys’ fees and
              litigation Expenses.5 Objections or oppositions must be in writing. You must
      9       file any written objection or opposition, together with copies of all other
     10       supporting papers and briefs, with the Clerk’s Office at the United States District
              Court for the Central District of California, Southern Division, at the address set
     11       forth below on or before _______, 2018. You must also serve the papers on
     12       Lead Counsel for the Class and counsel for the Defendants at the addresses set
              forth below so that the papers are received on or before ______, 2018.
     13
     14            Clerk’s Office               Lead Counsel            Counsel for Defendants
                                                for the Class
     15          UNITED STATES                                               LATHAM &
                 DISTRICT COURT             ROBBINS GELLER                  WATKINS LLP
     16        CENTRAL DISTRICT            RUDMAN & DOWD                     Peter A. Wald
                 OF CALIFORNIA                     LLP                   505 Montgomery Street
     17       SOUTHERN DIVISION            Robert R. Henssler Jr.             Suite 2000
     18        Ronald Reagan Federal         655 W. Broadway               San Francisco, CA
                 Building and United            Suite 1900                       94111
     19           States Courthouse        San Diego, CA 92101
               411 West Fourth Street              -and-
     20         Santa Ana, CA 92701
                                          BERNSTEIN LITOWITZ
     21                                        BERGER &
     22                                     GROSSMANN LLP
                                            Benjamin Galdston
     23                                      12481 High Bluff
                                              DriveSuite 300
     24                                    San Diego, CA 92130
     25
     26
          5
                 Lead Plaintiffs’ initial motion papers in support of these matters will be filed
     27
          with the Court on or before _____________, 2018.
     28                                                     NOTICE OF PENDENCY OF CLASS ACTION
                                                 - 24 -               AND PROPOSED SETTLEMENT
                                                                         Case No. 8:13-cv-01818-CJC-JPR




                                                                                         Exhibit A-1
                                                                                              - 37 -
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      1          65. The notice of objection must include documentation establishing the
          objecting Person’s membership in the Class, including the number of shares of
      2
          QSI common stock that the objecting Person (1) owned as of the opening of
      3   trading on May 26, 2011, and (2) purchased, acquired and/or sold during the
          Class Period, as well as the number of shares, dates and prices for each such
      4
          purchase, acquisition and sale, and contain a statement of reasons for the
      5   objection, copies of any papers, briefs, or other documents upon which the
          objection is based, a statement of whether the objector intends to appear at the
      6
          Settlement Hearing, and the objector’s signature, even if represented by counsel.
      7   Documentation establishing membership in the Class must consist of copies of
          brokerage confirmation slips or monthly brokerage account statements, or an
      8
          authorized statement from the objector’s broker containing the transactional and
      9   holding information found in a broker confirmation slip or account statement.
          Objectors who desire to present evidence at the Settlement Hearing in support of
     10
          their objection must include in their written objection or notice of appearance the
     11   identity of any witnesses they may call to testify and any exhibits they intend to
     12   introduce into evidence at the hearing

     13         66. You may not object to the Settlement or any aspect of it, if you
          exclude yourself from the Class.
     14
     15         67. You may file a written objection without having to appear at the
          Settlement Hearing. You may not appear at the Settlement Hearing to present
     16   your objection, however, unless you first filed and served a written objection in
     17   accordance with the procedures described above, unless the Court orders
          otherwise.
     18
                 68. You are not required to hire an attorney to represent you in making
     19   written objections or in appearing at the Settlement Hearing. If you decide to
     20   hire an attorney, which will be at your own expense, however, he or she must
          file a notice of appearance with the Court and serve it on Lead Counsel so that
     21   the notice is received on or before ____, 2018.
     22
                 69. The Settlement Hearing may be adjourned by the Court without
     23   further written notice to the Class, other than a posting of the adjournment on the
     24   Settlement website, www.QSISecuritiesSettlement.com. If you plan to attend
          the Settlement Hearing, you should confirm the date and time with Lead
     25   Counsel.
     26         Unless the Court orders otherwise, any Class Member who does
     27         not object in the manner described above will be deemed to
                have waived any objection and shall be forever foreclosed from
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                             - 25 -               AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
                                                                                          - 38 -
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                making any objection to the proposed Settlement, the proposed
      1         Plan of Allocation, or Lead Counsel’s request for an award of
      2         attorneys’ fees and litigation expenses. Class Members do not
                need to appear at the hearing or take any other action to
      3         indicate their approval.
      4
             WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?
      5
      6          70. Nominees who purchased QSI common stock for beneficial owners
          who are Class Members are directed to: (a) request within seven (7) calendar
      7   days of receipt of this Notice additional copies of the Notice and the Claim Form
      8   from the Claims Administrator for such beneficial owners; or (b) send a list of
          the names and addresses of such beneficial owners to the Claims Administrator
      9   within seven (7) calendar days after receipt of this Notice. If a nominee elects to
     10   send the Notice to beneficial owners, such nominee is directed to mail the Notice
          within seven (7) calendar days of receipt of the additional copies of the Notice
     11   from the Claims Administrator, and upon such mailing, the nominee shall send a
     12   statement to the Claims Administrator confirming that the mailing was made as
          directed, and the nominee shall retain the list of names and addresses for use in
     13   connection with any possible future notice to the Class. Upon full compliance
     14   with these instructions, including the timely mailing of the Notice to beneficial
          owners, such nominees may seek reimbursement of their reasonable expenses
     15   actually incurred in complying with these instructions by providing the Claims
     16   Administrator with proper documentation supporting the expenses for which
          reimbursement is sought and reflecting compliance with these instructions,
     17   including timely mailing of the Notice, if the nominee elected or elects to do so.
     18   Such properly documented expenses incurred by nominees in compliance with
          the terms of these instructions will be paid from the Settlement Fund. Copies of
     19   this Notice may also be obtained by calling toll-free 1-866-963-9980, and may
     20   be downloaded from the Settlement website, www.QSISecuritiesSettlement.com
          or from Lead Counsel’s websites, www.rgrdlaw.com. or www.blbglaw.com.
     21
     22                   CAN I SEE THE COURT FILE?
     23           WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

     24          71. This Notice contains only a summary of the terms of the proposed
          Settlement. More detailed information about the matters involved in the
     25
          Litigation is available at www.QSISecutiesSettlement.com, including, among
     26   other documents, copies of the Stipulation and Proof of Claim Form. All
          inquiries concerning this Notice or the Claim Form should be directed to:
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                             - 26 -               AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
                                                                                          - 39 -
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      1                            QSI Securities Settlement
                                      c/o A.B. Data, Ltd.
      2                                P.O. Box 173037
      3                             Milwaukee, WI 53217
                              Toll-free number: 1-866-963-9980
      4
                                            OR
      5                        Robert R. Henssler Jr., Esq.
      6                 ROBBINS GELLER RUDMAN & DOWD LLP
                              655 W. Broadway, Suite 1900
      7                           San Diego, CA 92101
      8                              (800) 449-4900
                                bhenssler@rgrdlaw.com
      9
                                            -or-
     10
                                Benjamin Galdston, Esq.
     11            BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP
     12                     12481 High Bluff Drive, Suite 300
                                 San Diego, CA 92130
     13                             (800) 380-8496
     14                           blbg@blbglaw.com

     15                                Lead Counsel
     16
                       DO NOT CALL OR WRITE THE COURT OR
     17                 THE OFFICE OF THE CLERK OF COURT
     18                      REGARDING THIS NOTICE.
     19
          Dated: ____________, 2018                By Order of the Court
     20                                            United States District Court
     21                                            Central District of California
                                                   Southern Division
     22
     23
     24
     25
     26
     27
     28                                            NOTICE OF PENDENCY OF CLASS ACTION
                                        - 27 -               AND PROPOSED SETTLEMENT
                                                                Case No. 8:13-cv-01818-CJC-JPR




                                                                                Exhibit A-1
                                                                                     - 40 -
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                                  #:2533



      1                                   TABLE A

      2                   Purchase or Sale Date                           Inflation
      3
          May 26, 2011 through May 6, 2012                                        $14.02
      4
      5   May 7, 2012                                                             $11.31
      6
          May 8, 2012                                                               $8.47
      7
      8   May 9, 2012                                                               $9.44
      9
          May 10, 2012 through July 25, 2012                                        $7.66
     10
     11
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     28                                           NOTICE OF PENDENCY OF CLASS ACTION
                                         - 28 -             AND PROPOSED SETTLEMENT
                                                               Case No. 8:13-cv-01818-CJC-JPR




                                                                               Exhibit A-1
                                                                                    - 41 -
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                                  #:2534



      1                                TABLE B

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     28                                         NOTICE OF PENDENCY OF CLASS ACTION
                                       - 29 -             AND PROPOSED SETTLEMENT
                                                             Case No. 8:13-cv-01818-CJC-JPR




                                                                             Exhibit A-1
                                                                                  - 42 -
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                                  #:2535




                    EXHIBIT A-2
Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 47 of 65 Page ID
                                  #:2536



      1 BERNSTEIN LITOWITZ BERGER
           & GROSSMANN LLP
      2 DAVID R. STICKNEY (188574)
        BENJAMIN GALDSTON (211114)
      3 12481 High Bluff Drive, Suite 300
        San Diego, CA 92130
      4 Tel: (858) 793-0070
        Fax: (858) 793-0323
      5 davids@blbglaw.com
        beng@blbglaw.com
      6
        ROBBINS GELLER RUDMAN & DOWD LLP
      7 DARREN J. ROBBINS (168593)
        ROBERT R. HENSSLER JR. (216165)
      8 655 West Broadway, Suite 1900
        San Diego, CA 92101
      9 Tel: (619) 231-1058
        Fax: (619) 231-7423
     10 darrenr@rgrdlaw.com
        bhenssler@rgrdlaw.com
     11
        Lead Counsel for Lead Plaintiffs
     12
     13                    UNITED STATES DISTRICT COURT
     14                   CENTRAL DISTRICT OF CALIFORNIA
     15                             SOUTHERN DIVISION
     16 In re QUALITY SYSTEMS, INC.        Case No. 8:13-cv-01818-CJC-JPRx
        SECURITIES LITIGATION
     17                                    CLASS ACTION
     18                                    CLAIM FORM
     19 This Document Relates To:          EXHIBIT A-2
     20       ALL ACTIONS.
     21
     22
     23
     24
     25
     26
     27
     28
                                                                          CLAIM FORM
                                                          Case No. 8:13-cv-01818-CJC-JPR




                                                                         Exhibit A-2
                                                                              - 43 -
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                                  #:2537



      1
                                     QSI Securities Settlement
      2                                c/o A.B. Data, Ltd.
      3                                 P.O. Box 173037
                                      Milwaukee, WI 53217
      4
      5                      Toll-Free Number: 1-866-963-9980
                          Email: info@QSISecuritiesSettlement.com
      6
                          Website: www.QSISecuritiesSettlement.com
      7
      8
                           PROOF OF CLAIM AND RELEASE
      9
     10 To be eligible to receive a share of the Net Settlement Fund in connection with the
     11 Settlement of this Litigation, you must complete and sign this Proof of Claim and
        Release (“Claim Form”) and mail it by first-class mail to the above address,
     12 postmarked no later than _________, 2018 or submit it online at the above
     13 website on or before _____, 2018.
     14 Failure to submit your Claim Form by the date specified will subject your claim to
        rejection and may preclude you from being eligible to receive any money in
     15 connection with the Settlement.
     16 Do not mail or deliver your Claim Form to the Court, the parties to the
     17 Action, or their counsel. Submit your Claim Form only to the Claims
        Administrator at the address set forth above.
     18
     19     TABLE OF CONTENTS                                    PAGE #

     20       PART I –INSTRUCTIONS

     21       PART II – CLAIMANT IDENTIFICATION

     22       PART III – SCHEDULE OF TRANSACTIONS IN
                         QSI COMMON STOCK
     23
              PART IV – SUBMISSION TO JURISDICTION OF COURT
     24                AND ACKNOWLEDGMENTS
     25       PART V – RELEASE AND SIGNATURE
     26
     27
     28
                                              -i-                                 CLAIM FORM
                                                                  Case No. 8:13-cv-01818-CJC-JPR




                                                                                 Exhibit A-2
                                                                                      - 44 -
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      1                            PART I - INSTRUCTIONS
      2 A.      GENERAL INSTRUCTIONS
      3         1.    To recover as a Member of the Class based on your claims in the
      4 action entitled In re Quality Systems, Inc. Securities Litigation, Case No. 8:13-cv-
      5 01818-CJC-JPR (the “Litigation”), you must complete and, on page [__] hereof,
      6 sign this Proof of Claim and Release (“Claim Form”). If you fail to file a properly
      7 addressed (as set forth in paragraph 3 below) Claim Form, your claim may be
      8 rejected, and you may be precluded from any recovery from the Net Settlement
      9 Fund created in connection with the proposed settlement of the Litigation.
     10         2.    Submission of this Claim Form, however, does not assure that you
     11 will share in the proceeds of settlement in the Litigation.
     12         3.    YOU MUST MAIL OR SUBMIT ONLINE YOUR COMPLETED
     13 AND SIGNED CLAIM FORM ON OR BEFORE ____________, 2018,
     14 ADDRESSED AS FOLLOWS:
     15         QSI Securities Settlement
                Claims Administrator
     16
                c/o A.B. Data, Ltd.
     17         P.O. Box 173037
                Milwaukee, WI 53217
     18
                www.QSISecuritiesSettlement.com
     19
     20 If you are NOT a Member of the Class, as defined below and in the Notice of
     21 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
     22 and (III) Motion for Attorneys’ Fees and Expenses (the “Notice”), DO NOT
     23 submit a Claim Form.
     24         4.    If you are a Member of the Class and you do not timely and validly
     25 request exclusion from the Class, you are bound by the terms of any judgment
     26 entered in the Litigation, including the releases provided therein, WHETHER OR
     27 NOT YOU SUBMIT A CLAIM FORM.
     28
                                               -1-                                    CLAIM FORM
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-2
                                                                                          - 45 -
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      1        5.     It is important that you completely read and understand the Notice
      2 that accompanies this Claim Form, including the Plan of Allocation of the Net
      3 Settlement Fund set forth in the Notice.       The Notice describes the proposed
      4 Settlement, how Class Members are affected by the Settlement, and the manner in
      5 which the Net Settlement Fund will be distributed if the Settlement and Plan of
      6 Allocation are approved by the Court. The Notice also contains the definitions of
      7 many of the defined terms (which are indicated by initial capital letters) used in
      8 this Claim Form.      By signing and submitting this Claim Form, you will be
      9 certifying that you have read and that you understand the Notice, including the
     10 terms of the releases described therein and provided for herein.
     11 B.     CLAIMANT IDENTIFICATION
     12        1.     If you purchased or acquired QSI common stock and held the
     13 certificate(s) in your name, you are the beneficial purchaser or acquirer as well as
     14 the record purchaser or acquirer. If, however, the certificate(s) were registered in
     15 the name of a third party, such as a nominee or brokerage firm, you are the
     16 beneficial purchaser and the third party is the record purchaser.
     17        2.     Use Part II of this form entitled “Claimant Identification” to identify
     18 the beneficial owner(s) of the QSI common stock. The complete name(s) of the
     19 beneficial owner(s) must be entered. If you held the eligible QSI common stock in
     20 your own name, you are the beneficial owner as well as the record owner. If,
     21 however, your shares of eligible QSI common stock were registered in the name of
     22 a third party, such as a nominee or brokerage firm, you are the beneficial owner of
     23 these shares, but the third party is the record owner. THIS CLAIM MUST BE
     24 FILED AND SIGNED BY THE ACTUAL BENEFICIAL PURCHASER(S) OR
     25 ACQUIRER(S)         OR     THE     LEGAL       REPRESENTATIVE            OF      SUCH
     26 PURCHASER(S) OR ACQUIRER(S) OF THE QSI COMMON STOCK UPON
     27 WHICH THIS CLAIM IS BASED.
     28
                                              -2-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 46 -
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      1        3.     All joint purchasers must sign this Claim Form and be identified in
      2 Part II. The Social Security (or taxpayer identification) number and telephone
      3 number of the beneficial owner may be used in verifying the claim. Failure to
      4 provide the foregoing information could delay verification of your claim or result
      5 in rejection of the claim.
      6        4.     One Claim should be submitted for each separate legal entity.
      7 Separate Claim Forms should be submitted for each separate legal entity (e.g., a
      8 claim from joint owners should not include separate transactions of just one of the
      9 joint owners, and an individual should not combine his or her IRA transactions
     10 with transactions made solely in the individual’s name). Conversely, a single
     11 Claim Form should be submitted on behalf of one legal entity including all
     12 transactions made by that entity on one Claim Form, no matter how many separate
     13 accounts that entity has (e.g., a corporation with multiple brokerage accounts
     14 should include all transactions made in all accounts on one Claim Form).
     15        5.     Agents, executors, administrators, guardians, and trustees must
     16 complete and sign the Claim Form on behalf of persons represented by them, and
     17 they must:
     18               (a)   expressly state the capacity in which they are acting;
     19               (b)   identify the name, account number, Social Security Number (or
     20                     taxpayer identification number), address, and telephone number
                            of the beneficial owner of (or other person or entity on whose
     21                     behalf they are acting with respect to) the QSI common stock;
     22                     and
     23               (c)   furnish herewith evidence of their authority to bind to the Claim
                            Form the person or entity on whose behalf they are acting.
     24
                            (Authority to complete and sign a Claim Form cannot be
     25                     established by stockbrokers demonstrating only that they have
                            discretionary authority to trade securities in another person’s
     26
                            accounts.)
     27
               6.     By submitting a signed Claim Form, you will be swearing that you:
     28
                                              -3-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 47 -
Case 8:13-cv-01818-CJC-JPR Document 95-1 Filed 07/16/18 Page 52 of 65 Page ID
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      1               (a)   own or owned the QSI common stock you have listed in the
      2        Claim Form; or
      3               (b)   are expressly authorized to act on behalf of the owner thereof.
      4 C.     CLAIM FORM
      5        1.     Use Part III of this form entitled “Schedule of Transactions in QSI
      6 Common Stock” to supply all required details of your transaction(s) in and
      7 holdings of QSI common stock. If you need more space or additional schedules,
      8 attach separate sheets giving all of the required information in substantially the
      9 same form. Sign and print or type your name on each additional sheet.
     10        2.     On the schedules, provide all of the requested information with
     11 respect to all of your purchases and acquisitions and all of your sales of QSI
     12 common stock that took place at any time on or between and including May 26,
     13 2011 and October 23, 2012, whether such transactions resulted in a profit or a loss.
     14 Failure to report all such transactions may result in the rejection of your claim.
     15 Also, list the number of shares held at the close of trading on May 25, 2011, July
     16 25, 2012, and October 23, 2012.
     17        3.     List each transaction in the Class Period separately and in
     18 chronological order, by trade date, beginning with the earliest.            You must
     19 accurately provide the month, day and year of each transaction you list.
     20        4.     You are required to submit genuine and sufficient documentation for
     21 all of your transactions in and holdings of QSI common stock set forth in the Claim
     22 Form. Documentation may consist of copies of brokerage confirmation slips or
     23 monthly brokerage account statements, or an authorized statement from your
     24 broker containing the transactional and holding information found in a broker
     25 confirmation slip or account statement. The parties and the Claims Administrator
     26 do not independently have information about your investments in QSI common
     27 stock. IF SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE
     28 OBTAIN COPIES OF THE DOCUMENTS OR EQUIVALENT DOCUMENTS
                                 -4-                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 48 -
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      1 FROM YOUR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION
      2 MAY RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT SEND
      3 ORIGINAL DOCUMENTS. Please keep a copy of all documents that you send
      4 to the Claims Administrator. Also, do not highlight any portion of the Claim
      5 Form or any supporting documents.
      6        5.     The above requests are designed to provide the minimum amount of
      7 information necessary to process the simplest claims. The Claims Administrator
      8 may request additional information as required to efficiently and reliably calculate
      9 your losses. In the event the Claims Administrator cannot perform the calculation
     10 accurately or at a reasonable cost to the Class with the information provided, the
     11 Claims Administrator may condition acceptance of the claim upon the production
     12 of additional information and/or the claimant’s responsibility for any increased
     13 costs due to the nature and/or scope of the claim.
     14        6.     If the Court approves the Settlement, payments to eligible Authorized
     15 Claimants pursuant to the Plan of Allocation (or such other plan of allocation as
     16 the Court approves) will be made after any appeals are resolved, and after the
     17 completion of all claims processing. The claims process will take substantial time
     18 to complete fully and fairly. Please be patient.
     19        7.     PLEASE NOTE:          As set forth in the Plan of Allocation, each
     20 Authorized Claimant shall receive his, her or its pro rata share of the Net
     21 Settlement Fund. If the prorated payment to any Authorized Claimant calculates to
     22 less than $10.00, it will not be included in the calculation and no distribution will
     23 be made to that Authorized Claimant.
     24        8.     If you have questions concerning the Claim Form, or need additional
     25 copies of the Claim Form or the Notice, you may contact the Claims
     26 Administrator, A.B. Data, Ltd., at the address on the first page of the Claim Form,
     27 by email at info@QSISecuritiesSettlement.com, or by toll-free phone at 1-866-
     28
                                              -5-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 49 -
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      1 963-9980, or you can visit the website, www.QSISecuritiesSettlement.com, where
      2 copies of the Claim Form and Notice are available for downloading.
      3        9.    NOTICE REGARDING ELECTRONIC FILES: Certain claimants
      4 with large numbers of transactions may request, or may be requested, to submit
      5 information regarding their transactions in electronic files.          To obtain the
      6 mandatory electronic filing requirements and file layout, you may visit the
      7 settlement website at www.QSISecuritiesSettlement.com or you may email the
      8 Claims        Administrator’s      electronic      filing         department           at
      9 info@QSISecuritiesSettlement.com.      Any file not in accordance with the
     10 required electronic filing format will be subject to rejection. Only one claim
     11 should be submitted for each separate legal entity (see ¶ B.4 above) and the
     12 complete name of the beneficial owner(s) of the securities must be entered where
     13 called for (see ¶ B.2 above). No electronic files will be considered to have been
     14 submitted unless the Claims Administrator issues an email to that effect. Do not
     15 assume that your file has been received until you receive this email. If you do
     16 not receive such an email within 10 days of your submission, you should
     17 contact the electronic filing department at info@QSISecuritiesSettlement.com
     18 to inquire about your file and confirm it was received.
     19
     20                         IMPORTANT: PLEASE NOTE
     21        YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN
     22 ACKNOWLEDGEMENT POSTCARD. THE CLAIMS ADMINISTRATOR
     23 WILL ACKNOWLEDGE RECEIPT OF YOUR CLAIM FORM BY MAIL,
     24 WITHIN       60    DAYS.         IF    YOU      DO     NOT         RECEIVE           AN
     25 ACKNOWLEDGEMENT POSTCARD WITHIN 60 DAYS, CALL THE
     26 CLAIMS ADMINISTRATOR TOLL FREE AT 1-866-963-9980.
     27
     28
                                              -6-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 50 -
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      1                    PART II:     CLAIMANT IDENTIFICATION
      2
          Beneficial Owner’s Name (First, Middle, Last)
      3
      4
          Joint Beneficial Owner’s Name (if applicable) (First, Middle, Last)
      5
      6
          Name of Representative, if applicable (executor, administrator, trustee, c/o, etc.),
      7   if different from Beneficial Owner
      8   Street Address
      9
     10   City                                       State or Province
     11
     12   Zip Code or Postal Code                    Country
     13
                                                     ___________         Individual
     14   Social Security Number or                  ___________         Corporation/Other
          Taxpayer Identification Number
     15
     16   Area Code            Telephone Number (work)
     17
     18   Area Code            Telephone Number (home)
     19
     20
          Record Owner’s Name (if different from beneficial owner listed above)
     21
     22
     23
     24
     25
     26
     27
     28
                                               -7-                                    CLAIM FORM
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-2
                                                                                          - 51 -
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      1   PART III: SCHEDULE OF TRANSACTIONS IN QSI COMMON STOCK
      2 Please be sure to include proper documentation with your Claim Form as described
        in detail in ¶C.4 of the Instructions. Do not include information regarding
      3 securities other than QSI common stock.
      4
               A.     Number of shares of QSI common stock held at the close of
      5               trading on May 25, 2011. (Must be documented.) If none,
                      write “zero”: ____________
      6
               B.     Purchases or acquisitions of QSI common stock (May 26, 2011-
      7               October 23, 2012, inclusive) (Must be documented.):
      8 Date of Purchase/ Number of        Purchase /          Total Purchase or
        Acquisition
      9 (Trade Date)      Shares Purchased Acquisition         Acquisition Price
                          or Acquired      Price Per Share     (excluding any
     10 Mo. / Day / Year                                       taxes, commissions,
                                                               and fees)
     11       /    /                        $                  $
              /    /                        $                  $
     12       /    /                        $                  $
     13       /    /                        $                  $
     14         IMPORTANT: If any purchase listed covered a “short sale,” please mark
                Yes:  Yes
     15
               C.     Sales of QSI common stock (May 26, 2011-October 23, 2012,
     16               inclusive) (Must be documented.):

     17 Trade Date            Number of           Sale Price          Total Sales Price
        Mo. Day Year          Shares Sold         Per Share           (not deducting any
     18                                                               taxes, commissions,
                                                                      and fees)
     19      /     /                              $                   $
             /     /                              $                   $
     20
             /     /                              $                   $
     21      /     /                              $                   $
     22
               D.    Number of shares of QSI common stock held at the close of
     23              trading on July 25, 2012. (Must be documented.) If none,
                     write “zero”: ________________________
     24
               E.    Number of shares of QSI common stock held at the close of
     25              trading on October 23, 2012. (Must be documented.) If none,
                     write “zero”: _______________.
     26
               If you require additional space, attach extra schedules in the same format as
     27
        above. Sign and print your name on each additional page.
     28
                                              -8-                               CLAIM FORM
                                                                   Case No. 8:13-cv-01818-CJC-JPR




                                                                                  Exhibit A-2
                                                                                       - 52 -
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      1        YOU MUST READ AND SIGN THE RELEASE ON PAGE __.
      2 FAILURE TO SIGN THE RELEASE MAY RESULT IN A DELAY IN
      3 PROCESSING OR THE REJECTION OF YOUR CLAIM.
      4
      5     PART IV – SUBMISSION TO JURISDICTION OF COURT AND
                              ACKNOWLEDGMENTS
      6
      7        I (We) submit this Claim Form under the terms of the Stipulation of
      8 Settlement dated July 16, 2018 (“Stipulation”) described in the Notice. I (We) also
      9 submit to the jurisdiction of the United States District Court for the Central District
     10 of California, Southern Division, with respect to my (our) claim as a Class Member
     11 (as defined in the Notice) and for purposes of enforcing the release set forth herein.
     12 I (We) further acknowledge that I am (we are) bound by and subject to the terms of
     13 any judgment that may be entered in the Litigation. I (We) agree to furnish
     14 additional information to Lead Counsel and/or the Claims Administrator to support
     15 this claim if required to do so. I (We) have not submitted any other claim covering
     16 the same purchases, acquisitions, or sales of QSI common stock during the Class
     17 Period and know of no other Person having done so on my (our) behalf.
     18                             PART V – RELEASE
     19        1.      I (We) hereby acknowledge full and complete satisfaction of, and do
     20 hereby fully, finally and forever settle, release, relinquish and discharge all of the
     21 Released Plaintiffs’ Claims (including Unknown Claims) against each and all of
     22 the Released Defendant Parties, all as defined herein and in the Notice and
     23 Stipulation.
     24        2.      This release shall be of no force or effect unless and until the Court
     25 approves the Stipulation and it becomes effective on the Effective Date.
     26        3.      I (We) hereby warrant and represent that I (we) have not assigned or
     27 transferred or purported to assign or transfer, voluntarily or involuntarily, any
     28 matter released pursuant to this release or any other part or portion thereof and
                                             -9-                             CLAIM FORM
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                    Exhibit A-2
                                                                                         - 53 -
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      1 have not submitted any other claim covering the same purchases of QSI common
      2 stock and know of no other person having done so on my (our) behalf.
      3        4.     I (We) hereby warrant and represent that I (we) have included all
      4 requested information about all of my (our) purchases or acquisitions of QSI
      5 common stock during the Class Period, as well as sales of QSI common stock
      6 between May 26, 2011 through October 23, 2012, as well as the number of
      7 securities held at the close of trading on May 25, 2011, July 25, 2012, and October
      8 23, 2012.
      9        5.     The number(s) shown on this form is (are) the correct SSN/TIN(s).
     10        6.     I (We) waive the right to trial by jury, to the extent it exists, and agree
     11 to the determination by the Court of the validity or amount of this claim, and waive
     12 any right of appeal or review with respect to such determination.
     13        7.     I (We) certify that I am (we are) NOT subject to backup withholding
     14 under the provisions of Section 3406(a)(1)(C) of the Internal Revenue Code.
     15        (NOTE: If you have been notified by the Internal Revenue Service that you
     16 are subject to backup withholding, you must cross out Item 7 above.)
     17        I (We) declare under penalty of perjury under the laws of the United States
     18 of America that the foregoing information supplied by the undersigned is true and
     19 correct.
     20        Executed this ____ day of _________, 20__,
     21                                          (Month/Year)
     22
     23 in _____________________, _______________________________________.
              (City)                (State/Country)
     24
     25                                          ________________________________
     26                                          (Sign your name here)
     27
                                                 ________________________________
     28
                                              - 10 -                                  CLAIM FORM
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-2
                                                                                          - 54 -
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      1                                           (Type or print your name here)
      2
                                                  ________________________________
      3
                                                  (Capacity of person(s) signing, e.g.,
      4                                           Beneficial Purchaser or Acquirer,
                                                  Executor or Administrator)
      5
      6 For Joint Beneficial Purchaser, if any:
      7                                           ________________________________
                                                  (Sign your name here)
      8
      9
                                                  ________________________________
     10                                           (Type or print your name here)
     11
                         ACCURATE CLAIMS PROCESSING TAKES A
     12                      SIGNIFICANT AMOUNT OF TIME.
                            THANK YOU FOR YOUR PATIENCE.
     13
     14        Reminder Checklist:

     15        1.    Please sign the above release and declaration.

     16        2.    Remember to attach copies of supporting documentation, if available.

     17        3.    Do not send original stock certificates.         Attach only copies of

     18 acceptable supporting documentation as these documents will not be returned to
     19 you.
     20        4.    Keep a copy of your Claim Form for your records.

     21        5.    The Claims Administrator will acknowledge receipt of your Claim

     22 Form by mail, within 60 days. Your claim is not deemed filed until you receive an
     23 acknowledgement postcard. If you do not receive an acknowledgement
     24 postcard within 60 days, please call the Claims Administrator toll free at 1-
     25 866-963-9980.
     26        6.    If you move, please send us your new address.

     27        7.    If you have any questions or concerns regarding your claim, contact

     28 the Claims Administrator at QSI Securities Settlement, c/o A.B. Data, Ltd., P.O.
                                         - 11 -                            CLAIM FORM
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-2
                                                                                          - 55 -
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      1 Box       173037,       Milwaukee,        WI     53217,       by        email        at
      2 info@QSISecuritiesSettlement.com, or by toll-free phone at 1-866-963-9980, or
      3 you may visit www.QSISecuritiesSettlement.com. DO NOT call QSI, the other
      4 Defendants, or their counsel with questions regarding your claim.
      5
      6
      7
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     28
                                             - 12 -                               CLAIM FORM
                                                                  Case No. 8:13-cv-01818-CJC-JPR




                                                                                 Exhibit A-2
                                                                                      - 56 -
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                    EXHIBIT A-3
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                                  #:2551



      1 BERNSTEIN LITOWITZ BERGER
         & GROSSMANN LLP
      2 DAVID R. STICKNEY (188574)
        BENJAMIN GALDSTON (211114)
      3 12481 High Bluff Drive, Suite 300
        San Diego, CA 92130
      4 Telephone: 858/793-0070
        858/793-0323 (fax)
      5 davids@blbglaw.com
        beng@blbglaw.com
      6
        ROBBINS GELLER RUDMAN
      7 & DOWD LLP
        DARREN J. ROBBINS (168593)
      8 ROBERT R. HENSSLER JR. (216165)
        655 West Broadway, Suite 1900
      9 San Diego, CA 92101
        Telephone: 619/231-1058
     10 619/231-7423 (fax)
        darrenr@rgrdlaw.com
     11 bhenssler@rgrdlaw.com
     12 Lead Counsel for Lead Plaintiffs
     13
     14                      UNITED STATES DISTRICT COURT
     15                     CENTRAL DISTRICT OF CALIFORNIA
     16                             SOUTHERN DIVISION
     17 In re QUALITY SYSTEMS, INC.         )   No. 8:13-cv-01818-CJC-JPR
                                            )
     18 SECURITIES LITIGATION               )   CLASS ACTION
                                            )
     19                                     )   SUMMARY NOTICE OF
                                            )   (I) PENDENCY OF CLASS ACTION
     20 This Document Relates To:           )   AND PROPOSED SETTLEMENT;
                                            )   (II) SETTLEMENT HEARING; AND
     21        ALL ACTIONS.                 )   (III) MOTION FOR ATTORNEYS’
                                            )   FEES AND EXPENSES
     22
     23                                         EXHIBIT A-3

     24
     25
     26
     27
     28                                                               SUMMARY NOTICE
                                                           Case No. 8:13-cv-01818-CJC-JPR




                                                                           Exhibit A-3
                                                                                - 57 -
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      1 IF YOU PURCHASED OR ACQUIRED QUALITY SYSTEMS, INC. (“QSI”)
        COMMON STOCK FROM MAY 26, 2011, THROUGH AND INCLUDING
      2 JULY 25, 2012, AND WERE DAMAGED THEREBY (THE “CLASS”), YOU
        COULD RECEIVE A PAYMENT FROM A CLASS ACTION SETTLEMENT.
      3 CERTAIN PERSONS ARE EXCLUDED FROM THE DEFINITION OF THE
        CLASS AS SET FORTH IN THE STIPULATION OF SETTLEMENT.
      4
      5        PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS MAY BE
      6 AFFECTED BY A CLASS ACTION LAWSUIT PENDING IN THIS COURT.
      7        YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules
      8 of Civil Procedure and Order of the United States District Court for the Central
      9 District of California, Southern Division, that the above-captioned litigation (the
     10 “Litigation”) has been certified as a class action for the purposes of settlement only
     11 and that a Settlement has been proposed for $19,000,000 in cash. A hearing will
     12 be held on ____________, 2018, at __:__ _.m., before the Honorable Cormac J.
     13 Carney at the Ronald Reagan Federal Building and U.S. Courthouse, 411 West
     14 Fourth Street, Courtroom 9B, Santa Ana, CA 92701, for the purpose of
     15 determining whether: (1) the proposed Settlement should be approved by the Court
     16 as fair, reasonable and adequate; (2) the proposed Plan of Allocation for
     17 distribution of the Settlement proceeds is fair, reasonable and adequate and
     18 therefore should be approved; and (3) the application of Lead Plaintiffs’ counsel
     19 for the payment of attorneys’ fees and expenses of no more than 25% of the
     20 Settlement Amount (up to $4,750,000) and payment of expenses of no more than
     21 $300,000 from the Settlement Fund, including interest earned thereon, should be
     22 approved.
     23        IF YOU ARE A MEMBER OF THE CLASS DESCRIBED ABOVE,
     24 YOUR RIGHTS MAY BE AFFECTED BY THE SETTLEMENT OF THE
     25 LITIGATION, AND YOU MAY BE ENTITLED TO SHARE IN THE
     26 SETTLEMENT FUND.               If you have not received a detailed Notice of
     27 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
     28
                                               -1-                            SUMMARY NOTICE
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                    Exhibit A-3
                                                                                         - 58 -
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      1 and (III) Motion for Attorneys’ Fees and Expenses (the “Notice”) and a copy of the
      2 Proof of Claim and Release, you may obtain a copy of these documents by
      3 contacting the Claims Administrator: QSI Securities Settlement, c/o A.B. Data, Ltd.
      4 P.O. Box 173037, Milwaukee, WI 53217, 1-866-963-9980. You may also obtain
      5 copies of the Stipulation of Settlement, Notice and Proof of Claim and Release at
      6 www.QSISecuritiesSettlement.com.
      7        If you are a Class Member, to be eligible to share in the distribution of the
      8 Net Settlement Fund, you must submit a Proof of Claim and Release by mail
      9 postmarked no later than ____________, 2018, or submit it online by that date. If
     10 you are a Class Member and do not submit a valid Proof of Claim and Release, you
     11 will not be eligible to share in the distribution of the Net Settlement Fund, but you
     12 will still be bound by any judgment entered by the Court in this Litigation
     13 (including the releases provided for therein).
     14        To exclude yourself from the Class, you must submit a written request for
     15 exclusion so that is received by ____________, 2018, in accordance with the
     16 instructions set forth in the Notice. If you are a Class Member and do not exclude
     17 yourself from the Class, you will be bound by any judgment entered by the Court
     18 in this Litigation (including the releases provided for therein) whether or not you
     19 submit a Proof of Claim and Release.             If you submit a written request for
     20 exclusion, you will have no right to recover money pursuant to the Settlement.
     21        Any objection to the proposed Settlement, the Plan of Allocation of
     22 Settlement proceeds, or the fee and expenses application must be filed with the
     23 Court and delivered such that it is received by each of the following no later than
     24 _______, 2018:
     25        CLERK OF THE COURT
               UNITED STATES DISTRICT COURT
     26        CENTRAL DISTRICT OF CALIFORNIA
               Ronald Reagan Federal Building & U.S. Courthouse
     27        411 West Fourth Street
               Santa Ana, CA 92701
     28
                                              -2-                             SUMMARY NOTICE
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                    Exhibit A-3
                                                                                         - 59 -
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                                  #:2554



      1
      2
                Lead Counsel:
      3
                ROBBINS GELLER RUDMAN
      4          & DOWD LLP
                ROBERT R. HENSSLER JR.
      5         655 West Broadway, Suite 1900
                San Diego, CA 92101
      6
                BERNSTEIN LITOWITZ BERGER
      7          & GROSSMANN LLP
                BENJAMIN GALDSTON
      8         12481 High Bluff Drive, Suite 300
                San Diego, CA 92130
      9
                Defense Counsel:
     10
                LATHAM & WATKINS LLP
     11         PETER A. WALD
                505 Montgomery Street, Suite 2000
     12         San Francisco, CA 94111
     13
          PLEASE DO NOT CONTACT THE COURT, THE CLERK’S OFFICE,
     14
          DEFENDANTS, OR DEFENDANTS’ COUNSEL REGARDING THIS
     15
          NOTICE. If you have any questions about the Settlement, or your eligibility to
     16
          participate in the Settlement, you may contact Lead Counsel at the addresses listed
     17
          above or by calling 1-800-449-4900 or 1-800-380-8496.
     18
     19 DATED: ________________                BY ORDER OF THE COURT
     20                                        UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
     21                                        SOUTHERN DIVISION

     22
     23
     24
     25
     26
     27
     28
                                              -3-                            SUMMARY NOTICE
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-3
                                                                                        - 60 -
